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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF IOWA

In re:                                                 )   Chapter 11
                                                       )   Case No. 21-01643-als11
QHC FACILITIES, et al1                                 )   Jointly Administered
                                                       )
       Debtors and Debtors in Possession               )   Hon. Anita L. Shodeen
                                                       )
                                                       )   PROPOSED ORDER (A) APPROVING
                                                       )   THE BIDDING PROCEDURES IN
                                                       )   CONNECTION WITH THE AUCTION
                                                       )   AND SALE OF ASSETS AND
                                                       )   SCHEDULING AN AUCTION AND
                                                       )   SALE HEARING; (B) APPROVING
                                                       )   ASSUMPTION AND ASSIGNMENT
                                                       )   PROCEDURES; (C) APPROVING
                                                       )   THE BREAK-UP FEE; AND (D)
                                                       )   GRANTING OTHER RELATED
                                                       )   RELIEF
                                                       )
                                                       )   Entered on Docket: __________________


         THIS MATTER having come before the Court2 on the motion (the “Motion”) [Docket

No. 117], dated January 28, 2022, of the Debtors for entry of an order (this “Order”) approving,

among other things: (a) the Bidding Procedures (substantially in the form attached hereto as

Exhibit 1) and scheduling an Auction and the Sale Hearing for the sale of substantially all the

Debtors’ assets; (b) the Assumption and Assignment Procedures; and (c) the Break-Up Fee. After

due deliberation, and having reviewed the Motion, any objections thereto, and materials submitted

by the parties, and having considered the statements of counsel on the record, and the evidence


1
 The Jointly Administered Debtors in this proceeding are In re QHC Management, LLC (Case No. 21-01644-als11),
In re QHC Mitchellville, LLC (Case No. 21-01645-als11), In re QHC Winterset North, LLC (Case No. 21-01646-
als11), In re QHC Madison Square, LLC (Case No. 21-01647-als11), In re QHC Fort Dodge Villa, LLC (Case No.
21-01648-als11), Crestridge, Inc. (Case No. 21-01649-als11), Crestview Acres, Inc. (Case No. 21-01650-als11), In re
QHC Humboldt North, LLC (Case No. 21-01651-als11), In re QHC Humboldt South, LLC (Case No. 21-01652-als11)
and In re QHC Villa Cottages, LLC (Case No. 21-01653-als11).
2
  Unless otherwise stated, capitalized terms not defined herein shall have the meanings set forth in the Bidding
Procedures or the Motion.
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adduced with respect to the Motion at a hearing to consider same (the “Bidding Procedures

Hearing”), and having considered the agreements announced by the parties.

         THE COURT HEREBY FINDS:3

         A.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334. This

proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (N) and (O). Venue is

proper in this district and in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.       The statutory predicates for the relief requested herein are sections 105(a), 363(b)

and (f), and 365 of title 11 of the United States Code (the “Bankruptcy Code”) and Federal Rules

of Bankruptcy Procedure 2002(a)(2), 6004(a), (b), (c), (e) and (f), 6006(a) and (c), 9006, 9007,

and 9014.

         C.       Notice of the Motion having been given to the Notice Parties (as defined below) is

sufficient in light of the circumstances and the nature of the relief requested in the Motion.

         D.       The Motion was modified on the record at the Bidding Procedures Hearing as

follows: (1) the Break-Up Fee increased from 1.8% to 3% of the Purchase Price; (2) the amount

of the Bid Deposit was adjusted, as described in the Bidding Procedures; and (3) key dates were

extended, as described in the Bidding Procedures.

         E.       The Debtors have articulated good and sufficient reasons for this Court to grant the

relief requested in the Motion, as modified on the record at the Bidding Procedures Hearing,

regarding the sale process, which is reasonable and appropriate and represents the best method for

ensuring patient welfare and maximizing value for the benefit of the Debtors’ estates: (i) approval




3
  The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law pursuant
to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that
any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the
following conclusions of law constitute findings of fact, they are adopted as such.



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of the Bidding Procedures; (ii) approval of the Assumption and Assignment Procedures; and (iii)

approval of the Break-Up Fee.

           F.   The Bidding Procedures were negotiated in good faith and at arms’ length and are

reasonably designed to promote participation and active bidding and ensure that the highest or best

value is generated for the Acquired Assets. Accordingly, the Bidding Procedures are reasonable

and appropriate and represent the best method for maximizing value for the benefit of the Debtors’

estates.

           G.   The Break-up Fee is reasonable and appropriate given, among other things, the size

and nature of the Sale and the efforts that will be expended by a proposed purchaser, and is a

material inducement for, and a condition of, a proposed purchaser’s entry into an APA. The Break-

up Fee constitutes actual and necessary costs and expenses of preserving the Debtors’ estates. In

addition, because the Stalking Horse Bidder APA will create a floor for any additional bids, the

Stalking Horse Bidder will have provided significant value to the Debtors’ estates.

           H.   Except for the Stalking Horse Bidder, no other party submitting an offer or bid or

a Qualified Bid shall be entitled to any expense reimbursement or breakup, termination, or similar

fee, or post-petition claim, including any administrative expense claim or substantial contribution

claim under section 503 of the Bankruptcy Code or otherwise, and by submitting a bid, a Bidder

(other than the Stalking Horse Bidder) shall be deemed to waive any right with respect thereto.

           I.   The Assumption and Assignment Procedures, including notice of proposed Cure

Costs, are reasonable and appropriate and consistent with section 365 of the Bankruptcy Code and

Bankruptcy Rule 6006. The Assumption and Assignment Procedures have been tailored to provide

an adequate opportunity for all non-Debtor parties to the Assumed Contracts to raise any

objections to the proposed assumption and assignment or to the Cure Costs.




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       IT IS HEREBY ORDERED, ADJUDGED AND DECREED EFFECTIVE

IMMEDIATELY THAT:

       1.      The Motion is granted to the extent set forth herein.

       2.      The Bidding Procedures are hereby approved in their entirety. The Debtors are

authorized to take any and all actions necessary or appropriate to implement the Bidding

Procedures.

       3.      All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

with the Court, are overruled on the merits except as otherwise set forth herein. Notwithstanding,

all rights to object to the sale contemplated in the Motion are preserved.

       4.      All bidders submitting a Qualified Bid are deemed to have submitted to the

exclusive jurisdiction of this Court with respect to all matters related to the Auction and the terms

and conditions of the sale or transfer of the Acquired Assets.

       5.      The Break-Up Fee of 3% of the proposed purchase price is reasonable and

appropriate under the circumstances and is approved in its entirety.

       6.      The Assumption and Assignment Procedures restated in this paragraph are

reasonable and appropriate under the circumstances, fair to all non-Debtor parties, comply with

the Bankruptcy Code, and are approved in their entirety.

       (a)     Within five (5) business days after the entry of the Bidding Procedures Order (the
               “Assumption Notice Deadline”), the Debtors shall file with the Court and serve,
               by overnight delivery (and by e-mail in cases where e-mail service has been
               consented to and where e-mail addresses are known), on counsel to the
               Committee and each counterparty (each, a “Counterparty,” and collectively, the
               “Counterparties”) to an Assumed Executory Contract a Cure Notice.
               Notwithstanding any other provision of this Order, the Debtors may opt to file and
               serve a Cure Notice relating to the Medicare Provider Agreements on the United
               States while settlement discussions between the parties are proceeding, after entry
               of this Order and subject to the written approval of the United States.



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     (b)   The Cure Notice shall include, without limitation, the cure amount (each, a “Cure
           Cost”), if any, that the Debtors (after consultation with the Stalking Horse Bidder,
           if any) believe is required to be paid to the applicable Counterparty under section
           365(b)(1)(A) and (B) of the Bankruptcy Code for each of the Assumed Executory
           Contracts and shall further include the Contract Objection Deadline. If a
           Counterparty objects to the Cure Cost, the Counterparty must file with the
           Bankruptcy Court and serve on the Contract Objection Notice Parties a written
           objection (a “Contract Objection”).

     (c)   Any Contract Objection shall: (i) be in writing; (ii) comply with the Federal
           Rules of Bankruptcy Procedure; (iii) be filed with the clerk of the Bankruptcy
           Court, 300 U.S. Courthouse Annex, 110 East Court Avenue, Suite 300, Des
           Moines, Iowa 50309, together with proof of service, by the Contract Objection
           Deadline; (iv) be served, so as to be actually received on or before the Contract
           Objection Deadline, upon the Contract Objection Notice Parties (as defined
           below); and (v) state with specificity the grounds for such objection, including,
           without limitation, the fully liquidated cure amount and the legal and factual bases
           for any unliquidated cure amount that the Counterparty believes is required to be
           paid under section 365(b)(1)(A) and (B) of the Bankruptcy Code, along with the
           specific nature and dates of any alleged defaults, the pecuniary losses, if any,
           resulting therefrom, and the conditions giving rise thereto.

     (d)   The “Contract Objection Notice Parties” are as follows: (A) general
           reorganization counsel to the Debtors, attention Jeffrey Goetz
           (goetz.jeffrey@bradshawlaw.com) and Krystal Mikkilineni
           (mikkilineni.krystal@bradsahawlaw.com); (B) counsel to the Committee:
           attention Francis Lawall (Francis.Lawall@Troutman.com) and Deborah Kovsky-
           Apap (deborah.kovsky@troutman.com); and (C) counsel to Lincoln Savings
           Bank, attention Jeff Courter (jwc@nyemaster.com) and Roy Leaf
           (rleaf@nyemaster.com).

     (e)   If, after the Assumption Notice Deadline, additional executory contracts or
           unexpired leases of the Debtors are determined to be Assumed Executory
           Contracts, as soon as practicable thereafter, the Debtors shall file with the
           Bankruptcy Court and serve, by overnight delivery (and by e-mail in cases where
           e-mail service has been consented to and where e-mail addresses are known), on
           counsel to the Committee and the Counterparties a Cure Notice, and such
           Counterparties shall file any Contract Objections not later than seven (7) days
           thereafter. In the event that the Successful Bidder and the relevant Counterparty
           cannot resolve any such Contract Objection, then the Debtor shall promptly notice
           a hearing before the Bankruptcy Court to resolve such Contract Objection. If the
           Debtors propose to assume and assign executory contracts of the United States,
           the parties will discuss deadlines for the United States to object subject to the
           approval of the Court.




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     (f)   As soon as practicable thereafter and in no event later than one (1) business day
           after the date of the Auction, the Debtors shall file with the Court and serve, by
           overnight delivery (and by e-mail in cases where e-mail service has been
           consented to and where e-mail addresses are known), on the Counterparties a
           notice identifying the Successful Bidder, and the Counterparties shall file any
           Contract Objections solely on the basis of adequate assurance of future
           performance not later than two (2) hours prior to the commencement of the Sale
           Hearing.

     (g)   At the Sale Hearing, the Debtors will seek Court approval of their assumption and
           assignment to the Successful Bidder of those Assumed Contracts that have been
           selected by the Successful Bidder to be assumed and assigned (collectively, the
           “Selected Assumed Contracts”). The Debtors and their estates reserve any and all
           rights with respect to any Assumed Contracts that are not ultimately designated as
           Selected Assumed Contracts.

     (h)   If no Contract Objection is timely received with respect to a Selected Assumed
           Contract: (i) the Counterparty to such Selected Assumed Contract shall be
           deemed to have consented to the assumption by the Debtors and assignment to the
           Successful Bidder of the Selected Assumed Contract, and be forever barred from
           asserting any objection with regard to such assumption and assignment
           (including, without limitation, with respect to adequate assurance of future
           performance by the Successful Bidder); (ii) any and all defaults under the
           Selected Assumed Contract and any and all pecuniary losses related thereto shall
           be deemed cured and compensated pursuant to section 365(b)(1)(A) and (B) of
           the Bankruptcy Code; and (ii) the Cure Cost for such Selected Assumed Contract
           shall be controlling, notwithstanding anything to the contrary in such Selected
           Assumed Contract, or any other related document, and the Counterparty shall be
           deemed to have consented to the Cure Cost and shall be forever barred from
           asserting any other claims related to such Selected Assumed Contract against the
           Debtors and their estates or the Successful Bidder, or the property of any of them,
           that existed prior to the entry of the Sale Order.

     (i)   To the extent that the parties are unable to consensually resolve any Contract
           Objection prior to the commencement of the Sale Hearing, including, without
           limitation, any dispute with respect to the cure amount required to be paid to the
           applicable Counterparty under section 365(b)(1)(A) and (B) of the Bankruptcy
           Code (any such dispute, a “Cure Dispute”), such Contract Objection will be
           adjudicated at the Sale Hearing or at such other date and time as may be fixed by
           the Court; provided, however, that, if the Contract Objection relates solely to a
           Cure Dispute, the Selected Assumed Contract may be assumed by the Debtors
           and assigned to the Successful Bidder provided that the cure amount the
           Counterparty asserts is required to be paid under section 365(b)(1)(A) and (B) of
           the Bankruptcy Code (or such lower amount as agreed to by the Counterparty) is
           deposited in a segregated account by the Debtors pending the Court’s adjudication
           of the Cure Dispute or the consensual resolution of the Cure Dispute by the



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               Successful Bidder, on the one hand, and the objecting Counterparty, on the other
               hand. If no Contract Objection is timely received, the Debtors shall be authorized
               to assume and assign such Assumed Contracts to the Successful Bidder without
               further notice to creditors or other parties in interest and without the need for
               further order of this Court, and such assumption and assignment shall be subject
               to the terms of the Sale Order.

       (j)     (j)     Notwithstanding the any other provision of this Order, the United States’
               deadline to object to any issue related to assumption and assignment of its
               executory contracts (including, without limitation, cure and adequate assurance of
               future performance) will be at least 30 days after the United States’ receipt of the
               Cure Notice by email to counsel for the United States: Seth Shapiro and Marissa
               Embola. Because the Debtors intend to request a debt compromise from the
               United States, the United States’ deadline to object to any issue related to
               assumption and assignment of its executory contracts, including, without
               limitation, the Medicare Provider Agreements, will be at least 7 business days
               after settlement negotiations have unsuccessfully concluded upon written notice
               to the Debtors by the United States. If settlement negotiations result in a
               settlement recommendation by counsel for the United States, the United States
               shall not have to file any objection to the assumption and assignment of its
               executory contracts (including, without limitation, any Medicare Provider
               Agreements) until 7 days after the authorizing official within the Department of
               Justice denies approval of the recommended settlement. Nothing in this Order
               shall impair the United States’ rights under the Medicare statutes and regulations
               with respect to approving the Successful Bidder as the future owner and operator
               of the facilities pursuant to the Medicare statutes and regulations.

       (k)     The Cure Cost fixed by the Court with respect to any Selected Assumed Contract
               shall be paid by the Successful Bidder directly to the counterparty to such
               contracts as promptly as practicable after approval of the assumption and
               assignment. Further, the Successful Bidder shall provide adequate assurance of
               future performance under the Selected Assumed Contracts, as same is required by
               the Bankruptcy Court. In either event, the order approving assumption and
               assignment shall provide that upon payment of the applicable Cure Cost, such
               counterparty shall not have any remaining claim against the Debtors or the Estates
               related to any default under any such Selected Assumed Contract.

       7.      Within two (2) business days of entry of this Order, the Debtors (or their agent)

shall serve by email to counsel of record and first class mail, postage prepaid, copies of: (i) this




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Order and (ii) the Bidding Procedures upon the following entities (collectively, the “Notice

Parties”):4

                  (a)      the United States Trustee;

                  (b)      counsel to the Committee;

                  (c)      counsel to Lincoln Savings Bank;

                  (d)      counsel to the Webb Family Trust;

                  (e)      the Internal Revenue Service and the Iowa Department of Revenue;

                  (f)      the United States Department of Justice;

                  (g)      state, county, and municipal governments having jurisdiction over any of
                           the Acquired Assets;

                  (h)      all parties that have requested special notice pursuant to Bankruptcy Rule
                           2002;

                  (i)      all persons or entities known to the Debtors that have or have asserted a lien
                           on, or security interest in, all or any portion of the Acquired Assets;

                  (j)      all governmental regulatory authorities asserting an interest in these
                           Bankruptcy Cases;

                  (k)      all Assumed Contract Counterparties;

                  (l)      all potential bidders previously identified by or otherwise known to the
                           Debtors;

                  (m)      all patients and residents of the Facilities; and

                  (n)      all of the Debtors’ employees.

         8.       As further described in the Bidding Procedures, the Sale Hearing will commence

on _____________ at ____________ prevailing Central time or at such other hour on that date

as the Court shall announce. The Sale Hearing may be adjourned by the Bankruptcy Court from



4
 The Bidding Procedures will direct parties to contact Newmark Real Estate of Dallas, LLC (“Newmark”) Investment
Banker for the Debtor, for more information and will provide that any party that wishes to obtain a copy of any related
document (subject to any necessary confidentiality agreement) may make such a request in writing to Newmark,
attention Ross Sanders, 2515 McKinney Ave, Suite 1300, Dallas, TX 75201, ross.sanders@nmrk.com.



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time to time without further notice to creditors or parties-in-interest other than by announcement

of the adjournment in open court on the date scheduled for the Sale Hearing.

       9.      Objections, if any, to the sale must: (a) be in writing and filed with this court no

later than ___________ at ___________ prevailing Central time (the “Objection Deadline”);

(b) comply with the Federal Rules of Bankruptcy Procedure; and (c) be served upon the Debtors,

counsel for the Committee, counsel for Lincoln Savings Bank, and counsel for the Webb Family

Trust so as to be actually received on or before the Objection Deadline.

       10.     The Auction to conduct bidding with respect to the sale of the Acquired Assets, if

necessary, shall commence on March 4, 2022.

       11.     All persons or entities (whether or not Qualified Bidders) that participate in the

bidding process shall be deemed to have knowingly and voluntarily (i) consented to the entry of a

final order by this Court in connection with the Motion to the extent that it is later determined that

this Court, absent consent of the parties, cannot enter final orders or judgment in connection

herewith consistent with Article III of the United States Constitution and (ii) waived any right to

jury trial in connection with any disputes relating to any of the foregoing matters.

       12.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014, or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       13.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       14.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted herein.




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       15.     To the extent that this Order is inconsistent with any prior order or pleading with

respect to the Motion, the terms of this Order shall govern.

       16.     This Court shall retain jurisdiction to resolve any dispute relating to the

interpretation of the terms and conditions of this Order.


IT IS SO ORDERED.



                                              United States Bankruptcy Judge




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Submitted by:


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General Reorganization Counsel for
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Approved as to Form and Content:

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No Objection:

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Rodney A. Morris, Esq.
Seth B. Shapiro, Esq.
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Counsel for the United States on behalf of
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Services




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                                 EXHIBIT 1

                           BIDDING PROCEDURES




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                                       BIDDING PROCEDURES

         On December 29, 2021, QHC Facilities, LLC an Iowa limited liability company and its
affiliates, QHC Management, LLC, QHC Madison Square, LLC, QHC Fort Dodge Villa, LLC, QHC
Villa Cottages, LLC, QHC Mitchellville, LLC, QHC Humboldt North, LLC, QHC Humboldt South,
LLC, QHC Winterset North, LLC, Crestview Acres, Inc., Crestridge, Inc. (the “Debtors”), as
Debtors and debtors in possession, filed voluntary petitions for relief under Chapter 11 of Title
11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Iowa (the “Bankruptcy Court”).

       The Debtors are seeking to sell all or substantially all of their assets for the highest or
best offer. On [___], 2022, the Bankruptcy Court entered an order [Docket No. [__]]
(the “Bidding Procedures Order”), which, among other things, authorized the Debtors to solicit
bids and approved these bidding procedures (the “Bidding Procedures”) for the consideration of
the highest or otherwise best price for all or substantially all of the Debtors’ assets, on the terms
and conditions set forth herein.

        Crestridge Holdco, LLC (“Crestridge Holdco”) (the “Stalking Horse Bidder”) submitted
the Stalking Horse Bid (as defined below). The Debtors and Crestridge Holdco have agreed
upon a form asset purchase agreement (the “Stalking Horse APA”)1 annexed hereto as Exhibit A.
The Stalking Horse APA provides, pursuant to the terms and subject to the conditions contained
therein, the consideration for the sale and transfer of the Acquired Assets is (i) an amount in cash
equal to $11,000,000.00, subject to adjustment as set forth in the Stalking Horse APA; and (ii)
assumption of the Assumed Liabilities (clauses (i) and (ii) collectively the “Stalking Horse Bid”).

        The Stalking Horse Bid is subject to higher or better offers submitted in accordance with
the terms and conditions of these Bidding Procedures. These Bidding Procedures describe,
among other things: (i) the procedures for bidders to submit bids for substantially all of the assets
of the Debtors (the “Acquired Assets”); (ii) the manner in which bidders and bids become
Qualified Bidders and Qualified Bids, respectively (each as defined below); (iii) the negotiation
of bids received; (iv) the conduct of the auction with respect to the Acquired Assets; and (v) the
ultimate selection of the Accepted Bid (as defined below).




1Capitalized terms used but not otherwise defined herein will have the meanings ascribed to them in the Stalking
Horse APA.
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                                  Access to Diligence Materials

       To participate in the bidding process and to receive access to due diligence
(the “Diligence Materials”), a party must submit to the Debtors an executed confidentiality
agreement (“Confidentiality Agreement”) in form and substance reasonably satisfactory to the
Debtors, as determined by the Debtors in consultation with its professionals.

       The Diligence Materials shall be made available to interested bidders in a “Data Room”
created and administered by the Debtors’ investment banker, Newmark Real Estate of Dallas,
LLC (“Newmark” or the “Investment Banker”). Parties interested in receiving access to the Data
Room and Diligence Materials may contact Ross Sanders, ross.sanders@nmrk.com, (314) 221-
8543, and will be provided with a form of the Confidentiality Agreement.

       A party who qualifies for access to Diligence Materials shall be a “Preliminary Bidder”.
The Debtors will afford any Preliminary Bidder the time and opportunity to conduct reasonable
due diligence under the time constraints provided herein; provided, however, that the Debtors
shall not be obligated to furnish any due diligence information after the Preliminary Bid
Deadline. The Debtors reserve the right to withhold any Diligence Materials that it, in
consultation with its professionals and the Consultation Parties (as defined below), determines
are business-sensitive or otherwise not appropriate for disclosure to a Preliminary Bidder.
Neither the Debtors nor their representatives shall be obligated to furnish information of any kind
whatsoever to any person that is not determined to be a Preliminary Bidder.

       Each Preliminary Bidder shall comply with all reasonable requests made by the Debtors
and their advisors regarding such Preliminary Bidder.

         The Debtors shall keep the Consultation Parties (as defined below) reasonably informed
of all interested parties that become Preliminary Bidders and the status of their due diligence at
all times.

                                         Assets to Be Sold

        The Debtors are offering for sale all of the Acquired Assets as set forth in the Stalking
Horse APA. The Debtors will consider offers for the Acquired Assets either in whole (the
“Whole Portfolio”) or in lots by Facility (“Lots”); provided, however, that any offer for two or
more Facilities shall specify the portion of the purchase price to be allocated to each Facility. If
the Mitchellville and/or Winterset Medicare Provider Agreements are terminated by HHS prior
to the auction or sale closing, then those Medicare Provider Agreements will not be included in
the auction and/or sale accordingly.

        Except as otherwise provided for in these Bidding Procedures, and in the asset purchase
agreement submitted by a Preliminary Bidder setting forth its Preliminary Bid (a “Bid APA”), all
of the Debtors’ rights, title and interest in and to the Acquired Assets shall be sold free and clear
of any pledges, liens, security interests, encumbrances, claims, charges, options and interests
thereon (collectively, the “Encumbrances”) to the maximum extent permitted by the order
approving the sale (the “Sale Order”) and the Bankruptcy Code, with such Encumbrances to
attach to the net proceeds of the sale of the Acquired Assets under the terms and provisions of

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the Sale Order.

                                          Bidding Process

       The term “Consultation Parties” shall mean (i) the Official Committee of Unsecured
Creditors (the “Committee”), (ii) Lincoln Savings Bank; and (iii) the Webb Family Trust.

        The Debtors and their advisors, in consultation with the Consultation Parties, shall (i)
determine whether any person is a Qualified Bidder as set forth herein; (ii) coordinate the efforts
of Preliminary Bidders in conducting their due diligence investigations; (iii) receive offers from
Preliminary Bidders, (iv) negotiate any offers made to purchase the Acquired Assets; (v)
conduct an Auction of the Acquired Assets; (vi) select the Accepted Bid and a Backup Bid (if
any); (vii) seek approval by the Bankruptcy Court of the Accepted Bid and Backup Bid (if any)
at the hearing (the “Sale Hearing”) set for approval of a sale or sales of the Debtors’ assets
(collectively, a “Sale Transaction”); and (viii) consummate the Sale Transaction at a closing (the
“Closing”) thereon as set forth herein and in the asset purchase agreement governing the
Accepted Bid (the “Accepted Bid APA”).

                          Key Dates For Potential Preliminary Bidders

Finalized OTA & Management Agreement2                 February 22, 2022

Preliminary Bid Deadline:                             March 1, 2022
Qualified Bid Announcement Deadline:                  March 3, 2022

Auction:                                              March 4, 2022

Sale Hearing:                                         March ___, 2022



                                     Preliminary Bid Deadline

        Preliminary Bids shall include an offer price for the Acquired Assets (including non-cash
or other value) on a Facility-by-Facility basis as required herein. Each Preliminary Bidder must
provide to the Debtors and the Consultation Parties, by the Preliminary Bid Deadline: (1) a
redline of its Bid APA to the Stalking Horse APA; (2) a clean, signed Bid APA; (3) its Bid
Deposit; and (4) acceptable Proof of Performance as set forth herein.

      Prior to the Preliminary Bid Deadline (defined below), the Debtors, in consultation with
the Consultation Parties, may enter into verbal discussions with any or all of the Preliminary

2The Operations Transfer Agreement (the “OTA”) and Management Agreement described in the Stalking Horse
APA shall be finalized and uploaded to the Data Room by February 22, 2022.




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Bidders to determine clarifications of the Preliminary Bids and submitted Bid APAs and to
negotiate terms of sale. The Debtors may offer pricing guidance to the Preliminary Bidders if
they determine, in consultation with the Consultation Parties, that such guidance is in the best
interests of the Debtors’ estates (the “Estates”). Such pricing guidance and other discussions, if
undertaken, shall not create an enforceable agreement or be binding on the Debtors or their
Estates.

         The Debtors shall accept Preliminary Bids until March 1, 2022 at 5 p.m. (Central
Time), which shall be the “Preliminary Bid Deadline”. Except as determined by the Debtors, in
consultation with the Consultation Parties, any party that does not submit a Bid by the
Preliminary Bid Deadline may not (i) submit any offer after the Preliminary Bid Deadline or
(ii) participate in the Auction.

                    Determination of Qualified Bid(s) and Baseline Bid(s)

        The Debtors shall evaluate and select by March 3, 2022 at 5:00 p.m. (Central Time)
(the “Qualified Bid Announcement Deadline”), those Preliminary Bids which, in their discretion,
after consultation with their professionals and the Consultation Parties, are deemed qualified bids
entitled to bid at the Auction (the “Qualified Bids”). The Stalking Horse Bid shall automatically
be deemed to be a Qualified Bid.

       The Debtors shall determine, in consultation with the Consultation Parties, the highest
and best Qualified Bid(s) submitted by the Preliminary Bid Deadline (the “Baseline Bid(s)”).
This determination may take into account any factors the Debtors and Consultation Parties
reasonably deem relevant to the value of the Qualified Bids received by the Estates. On or before
March 4, 2022 (Central Time) at 9:00 a.m. (Central Time) (the “Designation Deadline”), the
Debtors shall file a notice designating the Baseline Bid and publish such notice in the Data Room
and/or distribute the same at the Auction. The Debtors shall also provide copies of such Baseline
Bid to all of the Qualified Bidders, including the Stalking Horse Bidder, and to each of the
Consultation Parties.

                                          The Auction

       If the Debtors receive more than one Qualified Bid (including the Stalking Horse Bid),
the Debtors will conduct a live virtual Auction on March 4, 2022, beginning at 10:00 a.m.
(Central Time). If only one Qualified Bid (including a Stalking Horse Bid) is received by the
Qualified Bid Deadline for a particular Facility or Facilities, such Qualified Bid shall be deemed
the Accepted Bid for such Facility or Facilities and no Auction shall be conducted with respect to
such Facility or Facilities.

        Only a Qualified Bidder will be eligible to participate at the Auction, subject to such
limitations as the Debtors may impose in good faith, in consultation with the Consultation
Parties, as set forth herein. In addition, professionals and/or other representatives of (i) the
Debtors, (ii) the Committee; (iii) Lincoln Savings Bank; and (iv) the Webb Family Trust will be
permitted to attend and observe the Auction.

       At the Auction, Qualified Bidders will be permitted to increase their bids in successive
rounds of bidding. Bidding will start at the purchase price and terms proposed in the Baseline
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Bid, and will proceed thereafter in minimum increments of at least $100,000 (a “Minimum
Overbid Amount”) and all subsequent overbids shall be by $100,000; provided, however, that if
the Baseline Bid is the Stalking Horse Bid, the initial Minimum Overbid Amount shall be
$100,000.00 plus the Break-Up Fee. The Debtors reserve the right to and may, after consultation
with the Consultation Parties, increase or decrease the Minimum Overbid Amount at any time
during the Auction. The Debtors, in consultation with their advisors and the Consultation Parties,
shall determine, in their sole discretion, whether a Qualified Bid by a Qualified Bidder at the
Auction matches or is higher and better than the prior Qualified Bid.

       For the avoidance of doubt, the Stalking Horse Bidder shall be permitted to include the
full amount of the Break-Up Fee in each bid by the Stalking Horse Bidder for the purposes of
comparison to any overbid in connection with each round of bidding in the Auction.

        The Debtors may adopt rules for the Auction at any time that the Debtors, in consultation
with the Consultation Parties, reasonably determine to be appropriate to promote a spirited and
robust auction, whether to adjourn the Auction at any time and from time to time, the conducting
of multiple rounds of open or sealed bidding with notice only to the parties entitled to attend the
Auction, and to declare that the Auction has ended when no further Bids are timely made or
otherwise. At the start of the Auction, the Debtors shall describe the terms of the Baseline Bid.
Each Qualified Bidder will be permitted what the Debtors, in consultation with the Consultation
Parties, reasonably determine to be an appropriate amount of time to respond to the previous Bid
at the Auction. The Auction will be conducted openly and shall be transcribed or recorded, and
the Qualifying Bidders will be informed of the material terms of the previous bid.

        In evaluating a Qualified Bid submitted at the Auction, the Debtors, in consultation with
the Consultation Parties, may consider, among other things and without limitation, the amount of
cash to be paid or delivered, the speed and certainty of consummating a transaction, and any
other relevant factor.

                                     The Successful Bidder

        Prior to ending the Auction, the Debtors, after consultation with the Consultation Parties,
shall announce on the record that they have determined in their business judgment that they have
received the highest or otherwise best Qualified Bid (the “Accepted Bid”), and the Qualified
Bidder that had submitted such Qualified Bid shall be declared the winning bidder (the
“Successful Bidder”). The Debtors, after consultation with the Consultation Parties, shall also
identify the Qualified Bidder that submitted the next highest or otherwise best Qualified Bid as a
Backup Bid and shall be declared the backup bidder (the “Backup Bidder”).

        The Debtors shall seek Bankruptcy Court approval of the Accepted Bid(s) and Backup
Bid(s) (if any) at the Sale Hearing scheduled for March __, 2022.

                                       The Backup Bidder

        The Backup Bidder shall be required to keep its Backup Bid open and irrevocable until
the earlier of (i) the Closing of the Sale Transaction on the Accepted Bid; or (ii) thirty (30) days
after the Outside Closing Date (defined below). Promptly following the Debtor’s selection of the
Accepted Bid, , but no later than one (1) business day after the date of the Auction, it shall file
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with the Bankruptcy Court notice of the Accepted Bid and Backup Bid, if any (the “Auction
Report”), accompanied by such Successful Bidder’s and Backup Bidder’s Bid APA.
Notwithstanding the foregoing, if the Successful Bidder is for less than the Whole Portfolio (less
any reductions by the terms of the APA), the Stalking Horse Bidder shall not be required to be
the Backup Bidder and its Deposit shall be released to the Stalking Horse Bidder within two (2)
business days.

        Following the Sale Hearing, if the Successful Bidder fails to consummate its purchase of
the Acquired Assets by the Outside Closing Date (defined below), the Debtor may deem the
Backup Bidder to have the new prevailing bid, and the Debtor will be authorized, upon prior
written notice to the Bankruptcy Court, the Consultation Parties, and the United States, and
without further order of the Bankruptcy Court, to consummate the Sale Transaction with the
Backup Bidder. In such case of a failure to consummate the purchase of the Acquired Assets on
the part of the Successful Bidder, the defaulting Successful Bidder’s Bid Deposit shall be
forfeited to the Debtors for the benefit of the Estates.

                                    Bid Submission Process

         A bid is a signed document from a Preliminary Bidder received by the Preliminary Bid
Deadline that identifies the purchaser by its legal name (including any equity holders or other
financial backers, if the Preliminary Bidder is an entity formed for the purpose of submitting bids
or consummating a Sale Transaction), and any other party that will be participating in connection
with the bid or the Sale Transaction, and includes, at a minimum, the following (a “Bid”). To be
eligible to be considered by the Debtors as a Qualified Bidder, each Preliminary Bidder must
satisfy, to the satisfaction of the Debtors and the Consultation Parties, the following conditions:

       (a)     Good Faith Deposit: Each Preliminary Bidder must submit to the Debtors, by the
               Preliminary Bid Deadline, a good faith deposit equal to 5% of the amount of the
               Preliminary Bidder’s Bid. The Bid Deposit shall be held by the Debtors in an
               escrow account (without interest) to be maintained by the Debtors until they
               determine whether or not such Preliminary Bid is a Qualified Bid. The Bid
               Deposit shall be refunded, or applied to the Purchase Price, as set forth herein.
               Any party that has not submitted its Bid Deposit may not be a Qualified Bidder,
               may not attend the Auction, and the Debtors may not negotiate the terms of a Bid
               with such party.

       (b)     Redline APA: Each Preliminary Bid must be submitted with a redline of the
               Stalking Horse APA (the “Redline APA”) setting forth all proposed revisions by
               the Preliminary Bidder to the terms of the Stalking Horse APA.

       (c)     Signed Bid APA: Each Preliminary Bid must be submitted with a clean version of
               the Bid APA, incorporating any proposed revisions, and signed by an authorized
               representative of the Preliminary Bidder.

       (d)     Same or Better Terms: A statement that the Preliminary Bidder offers to purchase
               the Acquired Assets, pursuant to a Sale Transaction that is no less favorable to the
               Estates than the Sale Transaction contemplated in the Stalking Horse APA.

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     (e)   Backup Bidder: Each Bid submitted must provide that the (i) Qualified Bidder’s
           Bid shall remain open and irrevocable until the earlier of (a) the Closing of the
           Sale Transaction on the Accepted Bid; or (b) thirty (30) days after the Outside
           Closing Date (defined below), and the (ii) Qualified Bidder is obligated to
           perform as a Backup Bidder (as defined below) in the event such Qualified Bidder
           is not the Successful Bidder.

     (f)   Purchase Price; Minimum Bid: Each Bid for the Whole Portfolio must exceed the
           Stalking Horse Purchase Price, plus the Break-Up Fee, plus the Minimum
           Overbid Amount (the “Whole Portfolio Initial Minimum Bid Amount”). Each bid
           for Lots must exceed the amount allocated by the Stalking Horse Bid for such
           Facilities plus the Minimum Overbid Amount (the “Lots Initial Minimum Bid
           Amount”).

     (g)   Designation of Assigned Contracts and Leases: A Preliminary Bid must identify
           with particularity each and every executory contract and lease with respect to
           which the Preliminary Bidder seeks assignment from the Debtors.

     (h)   Excluded Assets: A Preliminary Bid must identify with particularity each of the
           Acquired Assets which the Preliminary Bidder does not wish to include in its
           offer.

     (i)   Corporate Authority: A Preliminary Bid must include written evidence reasonably
           acceptable to the Debtors and the Consultation Parties demonstrating appropriate
           corporate authorization of the Preliminary Bidder to consummate the proposed
           Sale Transaction; provided that, if the Preliminary Bidder is an entity specially
           formed for the purpose of effectuating the Sale Transaction, then the Preliminary
           Bidder must furnish written evidence reasonably acceptable to the Debtors and
           the Consultation Parties of the approval of the Sale Transaction by the equity
           holder(s) of such Preliminary Bidder.

     (j)   Disclosure of Identity of Preliminary Bidder: A Preliminary Bid must fully
           disclose the identity of each entity that will be bidding for or purchasing the
           Acquired Assets, including any equity holders, in the case of a Preliminary Bidder
           which is an entity specially formed for the purpose of effectuating the
           contemplated transaction, or otherwise participating in connection with such
           Preliminary Bid. A Preliminary Bid must also fully disclose any connections or
           agreements with the Debtor, or any other known, potential or prospective
           Preliminary Bidder, and/or any officer, director or equity holder of the Debtors.

     (k)   Proof of Financial Ability to Perform: A Preliminary Bid must include written
           evidence that the Debtor may conclude, in consultation with its advisors, and the
           Consultation Parties, demonstrates that the Preliminary Bidder has the necessary
           financial ability to close the Sale Transaction and comply with section 365 of the
           Bankruptcy Code, including providing adequate assurance of future performance

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           under all contracts and/or leases to be assumed and assigned in such Sale
           Transaction (collectively, such written evidence, the “Proof of Performance”).

     (l)   Contact Information and Affiliates: The Preliminary Bid must provide the
           identity and contact information for the Preliminary Bidder.

     (m)   Contingencies: Each Preliminary Bid shall not be conditioned on obtaining
           financing, any internal approvals or credit committee approvals, or on the
           outcome or review of unperformed due diligence.

     (n)   Due Diligence: Each Preliminary Bid must expressly acknowledge and represent
           that the Preliminary Bidder: (a) has had an opportunity to conduct any and all due
           diligence regarding the Acquired Assets and the proposed transaction prior to
           making its Bid, (b) has relied solely upon its own independent review,
           investigation and/or inspection of any documents and the Acquired Assets in
           making its Bid or that of any of its legal, financial or other advisors, and (c) did
           not rely upon any written or oral statements, representations, promises, warranties
           or guaranties whatsoever, whether express, implied, by operation of law or
           otherwise, regarding the business of the Debtors or the Acquired Assets or the
           proposed transaction, or the completeness or accuracy of any information
           provided in connection therewith, except as expressly stated in the representations
           and warranties contained in the asset purchase agreement ultimately accepted and
           executed by the Debtors.

     (o)   Irrevocable: Each Preliminary Bid must be irrevocable in accordance with the
           Bidding Procedures until five (5) business days after the Sale Hearing, provided
           that if such Preliminary Bid is determined by the Debtors to be the Accepted Bid
           or the Backup Bid, such Preliminary Bid shall continue to remain irrevocable,
           subject to the terms and conditions of these Bidding Procedures.

     (p)   Compliance with Diligence Requests: A Preliminary Bidder must have complied
           with reasonable requests for additional information and due diligence access from
           the Debtors to their satisfaction.

     (q)   Covenant to Cooperate: Each Preliminary Bid must include a covenant to
           cooperate with the Debtors to provide pertinent factual information regarding the
           Preliminary Bidder’s operations reasonably required to analyze issues arising with
           respect to any applicable anti-trust laws and other applicable regulatory
           requirements.

     (r)   Confidentiality Agreement: To the extent not already executed, the Preliminary
           Bid must include an executed Confidentiality Agreement in form and substance
           reasonably satisfactory to the Debtors.

     (s)   Environmental Requirements: Each Preliminary Bid must contain an
           acknowledgment of the following statement: “Nothing in these Bidding
           Procedures releases, nullifies, precludes, or enjoins the enforcement of any police

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               or regulatory to a governmental unit that any entity would be subject to as the
               owner or operator of property after the date of entry of an order approving these
               Bidding Procedures. Nothing in these Bidding Procedures authorizes the transfer
               or assignment of any governmental (a) license, (b) permit, (c) registration, (d)
               authorization or (e) approval, or the discontinuation of any obligation thereunder,
               without compliance with all applicable legal requirements under police or
               regulatory law. Nothing in these Bidding Procedures divests any tribunal of any
               jurisdiction it may have under police or regulatory law to interpret these Bidding
               Procedures, or to adjudicate any defense asserted under the order approving these
               Bidding Procedures.”

       (t)     Closing Date: A Preliminary Bid must include a commitment to enter into an
               Operations Transfer Agreement upon entry of the Sale Order and close and fully
               consummate the transactions contemplated by the Bid APA within 120 days of
               the Sale Order, subject to change of ownership approval by the regulatory
               agencies (the “Outside Closing Date”).

       (u)     Bid Deadline: The following parties must receive a Preliminary Bid in writing (in
               both PDF and Word format), on or before the Preliminary Bid Deadline: (i) the
               Debtors’ Investment Banker, attention Ross Sanders (ross.sanders@nmrk.com);
               (ii) general reorganization counsel to the Debtors, attention Jeffrey Goetz
               (goetz.jeffrey@bradshawlaw.com)          and         Krystal         Mikkilineni
               (mikkilineni.krystal@bradsahawlaw.com); (iii) counsel to the Committee:
               attention Francis Lawall (Francis.Lawall@Troutman.com) and Deborah Kovsky-
               Apap (deborah.kovsky@troutman.com); (iv) counsel to Lincoln Savings Bank,
               attention     Jeff   Courter     (jwc@nyemaster.com)       and     Roy      Leaf
               (rleaf@nyemaster.com); and counsel to the Webb Family Trust, attention Terry
               Gibson (TGibson@2501grand.com).

        A Preliminary Bid received from a Preliminary Bidder, on or before the Preliminary Bid
Deadline, that meets the above requirements, shall constitute a “Qualified Bid”, and such
Preliminary Bidder shall constitute a “Qualified Bidder”. If the Debtors receive a Preliminary
Bid prior to the Bid Deadline that is not determined by the Debtors, in accordance with these
Bidding Procedures and in consultation with the Consultation Parties, to constitute a Qualified
Bid, the Debtors may provide the Preliminary Bidder with the opportunity to remedy any
deficiencies prior to the Preliminary Bid Deadline (or, as it deems appropriate, after the
Preliminary Bid Deadline); provided, further, that, for the avoidance of doubt, if any Qualified
Bidder fails to comply with reasonable requests for additional information and due diligence
access from the Debtors to their satisfaction, the Debtors may, after consulting with their
professionals and the Consultation Parties, disqualify any Qualified Bidder and reject a Qualified
Bid.

                                     Sale Is As Is/Where Is

       The sale of the Acquired Assets shall be on an “as is, where is” basis and without any
additional representations or warranties of any kind, nature or description by the Debtors, their
agents or the Estates, other than those set forth in the Stalking Horse APA. By submitting a bid,

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each Preliminary and Qualified Bidder shall be deemed to acknowledge and represent that it has
had an opportunity to conduct any and all due diligence regarding the Acquired Assets prior to
making its offer, that it has relied solely upon its own independent review, investigation and/or
inspection of any documents and/or the Acquired Assets in making its bid, and that it did not rely
upon any written or oral statements, representations, promises, warranties or guaranties
whatsoever, whether express, implied, by operation of law or otherwise, regarding the Acquired
Assets, or the completeness of any information provided in connection therewith or with the
Auction, except as expressly stated in these Bidding Procedures.

                                          Sale Hearing

        The Accepted Bid and the Backup Bid will be subject to approval by the Bankruptcy
Court at the Sale Hearing on the date set forth above, or such other date as the Court may set.
The Sale Hearing may be adjourned by the Debtors from time to time, subject to Court approval,
by filing a notice on the docket of the Debtors’ chapter 11 cases.

                                       Return of Deposits

        The Bid Deposits of all Preliminary Bidders whose Preliminary Bid is not deemed by the
Debtors as a Qualified Bid shall be returned to such Preliminary Bidder, without interest, within
three (3) business days of such determination. The Bid Deposit of any Qualified Bidder that is
neither the Successful Bidder nor the Backup Bidder shall be returned to such Qualified Bidder
not later than five (5) business days after the Sale Hearing. The Bid Deposit of the Backup
Bidder, if any, shall be returned to the Backup Bidder within three (3) business days after the
Closing of the Sale Transaction with the Successful Bidder. If the Successful Bidder timely and
fully closes the Sale Transaction, its Bid Deposit shall be credited towards the Purchase Price. If
the Backup Bid closes the Sale Transaction in accordance with these Bidding Procedures, its Bid
Deposit shall be credited towards the Purchase Price.

                                Closing of the Sale Transaction

        The Successful Bidder shall fully consummate the Sale Transaction at a Closing to be
scheduled and conducted by the Debtors and their professionals by no later than 120 days after
entry of the Sale Order, subject to change of ownership approval by the regulatory agencies. No
later than the Sale Closing date, the Successful Bidder shall be required to pay to the Debtors the
balance of the Purchase Price in immediately available funds as set forth in the Successful
Bidder’s asset purchase agreement; execute such documents as the Debtors deem reasonably
necessary to consummate the Sale Transaction; and otherwise fully consummate the Sale
Transaction in accordance with the terms of the Accepted Bid APA as approved by the
Bankruptcy Court. The Debtors may elect to conduct and consummate the Closing electronically
and shall not be required to close the Sale Transaction in person if they deem it advisable.

                                          Modifications

       The Debtors, in their sole discretion, but in consultation with their advisors and the
Consultation Parties, may adopt, implement, and/or waive such other, additional or existing
procedures or requirements that serves to further an orderly Auction and bidding process,
including, but not limited to, the imposition of a requirement that all Qualified Bidders submit
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sealed Qualified Bids during the Auction, all without further notice except to those parties that
would be entitled to attend at an Auction or participate in the Auction, as appropriate.

        The Debtors, in their sole discretion, but in consultation with their advisors and
Consultation Parties, may (a) determine which Qualified Bid, if any, is the Accepted Bid, and (b)
reject at any time before entry of an order approving the Accepted Bid, any Bid that, in the
discretion of the Debtors, in consultation with their advisors and the Consultation Parties is (i)
inadequate or insufficient, (ii) not in conformity with the requirements of the Bankruptcy Code
or the Bidding Procedures, or (iii) contrary to the best interests of the Debtors’ estates and their
creditors. At or before the conclusion of the Auction, the Debtors, in their sole discretion, but in
consultation with their advisors and Consultation Parties, may impose such other terms and
conditions upon Qualified Bidders as the Debtors determine to be in the best interests of the
Debtors’ estates.

                                       Consultation Parties

        The Debtors shall use their best effort to consult and confer with the Consultation Parties
in respect of all material aspects of the bidding and Auction process in order to maximize value
for all parties in interest. For the avoidance of doubt, however, the consultation rights provided
to the Consultation Parties by these Bidding Procedures shall not limit the Debtors’ discretion in
any way and shall not include the right to veto any decision made by the Debtors in the exercise
of their business judgment. Nothing in these Bidding Procedures shall limit, impair, or otherwise
prejudice the ability of the Consultation Parties to object in connection with the Sale
contemplated by these Bidding Procedures.

        The Debtors may not modify the consultation or consent rights of any of the Consultation
Parties set forth herein without the consent of such affected party; provided, however, that the
Debtors may, in the exercise of their business judgment, take such steps as are necessary to
ensure a competitive and transparent bidding and Auction process, including, but not limited to,
limiting (but not eliminating) the consultation rights of a Consultation Party that is or becomes a
Qualified Bidder.

                               Reservation of Rights of the Debtors

        Except as otherwise provided in the Bidding Procedures or the Bidding Procedures
Order, the Debtors, in consultation with the Consultation Parties, further reserve the right as they
may reasonably determine to be in the best interest of the Estates and consistent with their
fiduciary duties, to: (a) determine which Preliminary Bidders are Qualified Bidders;
(b) determine which Preliminary Bids are Qualified Bids; (c) determine which Qualified Bid is
the Accepted Bid or Backup Bid; (d) reject any Preliminary Bid that is (1) inadequate or
insufficient, (2) not in conformity with the requirements of the Bidding Procedures or the
requirements of the Bankruptcy Code, or (3) contrary to the best interests of the Debtors and
their Estates; (e) waive non-compliance with any of the terms and conditions set forth herein as
the Debtors determine to be in the best interests of the Estates, their creditors, and other parties in
interest; (f) impose additional terms and conditions with respect to all potential bidders;
(g) extend the deadlines set forth herein; (h) continue or cancel the Sale Hearing by filing a
notice on the docket of the Debtors’ chapter 11 cases, without further notice to creditors or other

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parties in interest; and (i) modify the Bidding Procedures and implement additional procedural
rules that the Debtors determine, in their business judgment, will better promote the goals of the
bidding process and discharge its duties; provided, however, that any modification or additions
to the Bidding Procedures shall not be materially inconsistent with the Bidding Procedures
Order, Sale Order, any order approving any agreement for post-petition financing, or any other
order of the Court.

                         Break-Up Fee and Expense Reimbursement

       Pursuant to the Bidding Procedures Order, the Stalking Horse Bidder is entitled to the
Break-Up Fee in accordance with the terms of the Stalking Horse APA, the Sale Motion, and the
Bidding Procedures Order.

       Pursuant to the Bidding Procedures Order, except for the Stalking Horse Bidder, no other
party submitting an offer or bid or a Qualified Bid shall be entitled to any expense
reimbursement or breakup, termination, or similar fee, or post-petition claim, including any
administrative expense claim or substantial contribution claim under section 503 of the
Bankruptcy Code or otherwise, and by submitting a bid, a Bidder (other than the Stalking Horse
Bidder) shall be deemed to waive any right with respect thereto.

               Consent to Jurisdiction and Authority as Condition to Bidding

        All bidders that participate in the bidding process shall be deemed to have (i) consented
to the core jurisdiction of the Bankruptcy Court to enter any order or orders, which shall be
binding in all respects, in any way related to these Bidding Procedures, the bidding process, the
Auction, or the construction and enforcement of any agreement or any other document relating to
the Sale Transaction, (ii) waived any right to a jury trial in connection with any disputes relating
to these Bidding Procedures, the bidding process, the Auction, or the construction and
enforcement of any agreement or any other document relating to the Sale Transaction, and (iii)
consented to the entry of a final order or judgment in any way related to these Bidding
Procedures, the bidding process, the Auction, or the construction and enforcement of any
agreement or any other document relating to the Sale Transaction if it is determined that the
Bankruptcy Court would lack Article III jurisdiction to enter such a final order or judgment
absent the consent of the parties.




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                                      EXHIBIT A

                             ASSET PURCHASE AGREEMENT

THIS ASSET PURCHASE AGREEMENT (the “Agreement”) is made and entered into as of
February 11, 2022 (the “Execution Date”), by and between QHC Facilities, LLC, QHC
Management, LLC, QHC Mitchellville, LLC, QHC Winterset North, LLC, QHC Madison Square,
LLC, QHC Fort Dodge Villa, LLC, QHC Humboldt North, LLC, QHC Humboldt South, LLC,
and QHC Villa Cottages, LLC, each an Iowa limited liability company, and Crestridge, Inc. and
Crestview Acres, Inc., each an Iowa corporation, (“Seller”), and Crestridge Holdco, LLC, a
Delaware limited liability company (“Buyer”).

                                          ARTICLE I
                                         DEFINITIONS

1.01   Definitions.   The following terms have the meanings assigned below:

       “Acquired Assets” has the meaning described in Section 2.01 of this Agreement.

       “Acquisition Transaction” shall mean any sale, transfer or other disposition (not involving
       the Buyer or its Affiliates), in one transaction or a series of transactions, of all or any
       substantial portion of the Acquired Assets or the Business, whether proposed to be effected
       pursuant to a merger, consolidation, tender offer, exchange offer, share exchange,
       amalgamation, stock acquisition, asset acquisition, business combination, restructuring,
       recapitalization, liquidation, dissolution, joint venture or similar transaction, whether or
       not proposed or advanced by the Seller.

       “Action” means any claim, action, cause of action, demand, lawsuit, arbitration, inquiry,
       audit, notice of violation, proceeding, litigation, citation, grievance, summons, pleading,
       motion, objection, subpoena or investigation of any nature, whether civil, criminal,
       administrative regulatory or otherwise and whether at Law or in equity.

       “Affiliate” means any Person that directly, or indirectly, controls, is controlled by, or is
       under common control with, such a specified Person.

        “Ancillary Agreements” means any bill of sale, warranty deed, or similar transaction
       agreements in form and substance acceptable to Seller and Buyer.

       “Ancillary Businesses” means the ancillary healthcare and medical business, including
       physician services, that Seller conducts.

       “Assumed Executory Contracts” means the executory contracts, including Leases, of
       Seller listed on Schedule 2.08(a), designated and agreed by Buyer, that have been assumed
       and assigned by the Seller to the Buyer.

       “Assumed Lease” means any Lease that is an Assumed Executory Contract.

       “Assumed Liabilities” has the meaning set forth in Section 2.08 of this Agreement.
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     “Assisted Living Facilities” means the facilities consisting of (1) Madison Square Assisted
     Living, located at 209 W Jefferson St., Winterset, IA 50273 and (2) Fort Dodge Villa
     Cottages, located at 925 Martin Luther King Drive, Fort Dodge, IA 50501.

     “Bankruptcy Code” means Title 11 of the U.S. Code, as amended from time to time.

     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
     of Iowa.

     “Bill of Sale” means a bill of sale in form and substance acceptable to Buyer and Seller.

     “Bidding Procedures Order” means that certain Order (A) Approving Bidding Procedures
     in Connection with the Auction and Sale of Assets and Scheduling an Auction and Sale
     Hearing; (B) Approving Assumption and Assignment Procedures; (C) Approving the
     Break-Up Fee; and (D) Granting Other Related Relief, entered on _________, Docket No.
     _____ in the Bankruptcy Case.

     “Break-Up Fee” means a break-up fee in an amount equal to 3% of the Purchase Price,
     payable in accordance with Section 7.03 hereof.

     “Business” means Seller’s business as operators of 8 Skilled Nursing Facilities and 2
     Assisted Living Facilities across Iowa, and all Ancillary Businesses of Seller.

     “Business Day” means any day other than a Saturday, a Sunday, or a day on which
     commercial banks are allowed or required to close in Iowa.

     “Chapter 11 Case” means the following proceedings pending before the Bankruptcy Court
     in which Seller are the Debtors: In re QHC Facilities, LLC, Case No. 21-01643-als11, In
     re QHC Management, LLC (Case No. 21-01644-als11), In re QHC Mitchellville, LLC
     (Case No. 21-01645-als11), In re QHC Winterset North, LLC (Case No. 21-01646-als11),
     In re QHC Madison Square, LLC (Case No. 21-01647-als11), In re QHC Fort Dodge Villa,
     LLC (Case No. 21-01648-als11), In re Crestridge, Inc. (Case No. 21-01649-als11), In re
     Crestview Acres, Inc. (Case No. 21-01650-als11), In re QHC Humboldt North, LLC (Case
     No. 21-01651-als11), In re QHC Humboldt South, LLC (Case No. 21-01652-als11), and In
     re QHC Villa Cottages, LLC (Case No. 21-01653-als11). ,.

     “Claim” means any action, assessment, loss or experience rating, cause of action, claim,
     damage, demand, proceeding, fine, injury (including death), investigation, judgment,
     lawsuit, liability, loss, penalty, settlement or expense of any nature, whether civil, criminal,
     administrative or otherwise, and includes any and all “claims” as defined in 11 U.S.C.
     Section 101(5), and all “interests” as used in 11 U.S.C. Section 363(f).

     “Closing” has the meaning set forth in Section 6.01 of this Agreement.

     “Closing Date” has the meaning set forth in Section 6.01 of this Agreement. .

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     “Code” means Title 26 of the U.S. Code, as amended from time to time.

     “Contracts” means all contracts and other agreements incident to the Facilities and/or
     Business to which Seller is a party.

     “Cure Costs” means the amount necessary to cure all defaults under the Assumed
     Executory Contracts (as of the Closing Date) to permit Seller to assume and assign the
     Assumed Executory Contracts pursuant to Bankruptcy Code section 365 and any order of
     the Bankruptcy Court.

     “Disclosure Schedules” means the disclosure schedules delivered by Seller concurrently
     with the execution and delivery of this Agreement. If any schedules are not completed or
     attached hereto as of the date of this Agreement, the parties hereto agree to attach such
     schedules as soon as reasonably practicable, but in any event, this Agreement is subject to
     Buyer approving (which approval will not unreasonably be withheld, delayed or
     conditioned) all schedules or subsequent updates thereto within seven (7) days of
     submission thereof to Buyer. The parties hereto agree that the party charged with providing
     an exhibit or schedule to this Agreement shall, to the extent necessary after delivery
     thereof, amend or supplement all exhibits and schedules in order for the same to be current,
     true and correct in all material respects as of the Closing Date.

     “DOH” means Iowa Department of Public Health and the Iowa Department of Inspections
     and Appeals and Iowa Department of Human Services, collectively.

     “Employee Plans” means any pension, retirement, savings, disability, medical, dental,
     health, life, death benefit, group insurance, profit-sharing, deferred compensation, stock
     option, stock purchase, bonus, incentive, executive compensation, vacation pay, holiday
     pay, severance benefit plan, trust, arrangement, agreement, policy or commitment, whether
     or not any of the foregoing is funded or insured and whether written or oral, that is intended
     to provide or does provide benefits to any of Seller’s employees, and (i) to which seller is
     a party or by which Seller (or any of Seller’s rights, properties or assets) is bound; (ii) with
     respect to which Seller has made any payments, contributions, or commitments, or may
     otherwise have any liability (whether or not Seller still maintains such plan, trust,
     arrangement, contract, agreement, policy, or commitment); or (iii) under which any
     director, employee or agent of Seller is a beneficiary as a result of his or her employment
     or affiliation with Seller.

     “Encumbrances” means and includes interests, contractual rights, security interests,
     mortgages, liens, licenses, pledges, guarantees, charges, easements, reservations,
     restrictions, clouds, equities, rights of way, options, rights of first refusal and all other
     encumbrances, whether or not relating to the extension of credit or the borrowing of money.

     “Equipment” means all furniture, fixtures, equipment, machinery, vehicles, and other
     personalty now or hereafter attached to or appurtenant to the Land or used in connection
     with the Facilities or the Business.
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     “ERISA” means the United States Employee Retirement Income Security Act of 1974, as
     amended from time to time, and the rules and regulations promulgated thereunder.

     “Escrow Agent” means Landmark Abstract Agency, 207 Rockaway Turnpike, Lawrence,
     NY 11559, attn: Jacob Rekant, Jrekant@laatitle.com.

     “Excluded Agreements” means all contracts, leases, and agreements (other than those
     between Seller and Buyer) that are not Assumed Executory Contracts: (i) as to which Seller
     is a party; (ii) to which Seller or its property is subject; or (iii) by which Seller is otherwise
     bound, whether oral or written.

     “Excluded Assets” means those items specifically described in Section 2.02.

     “Excluded Liabilities” means any liabilities of, and Claims against, Seller or the Acquired
     Assets, together with all other liabilities and obligations of, and Claims against, Seller that
     are not Assumed Liabilities.

      “Facilities” means Seller’s interest in the 8 Skilled Nursing Facilities and 2 Assisted
     Living Facilities, Land, Improvements, Equipment, Intellectual Property, Contract Rights,
     Leases, Intangible Personal Property, Government Authorizations, Records and the other
     intangible and tangible assets, whether real or personal or mixed, that are located in, or
     associated with, the nursing and assisted living facilities, and/or on the Land. The Facilities
     are listed on Exhibit A.

     “FMLA” means the United States Family and Medical Leave Act, as amended from time
     to time, and the rules and regulations promulgated thereunder.

     “GAAP” means generally accepted accounting principles in the United States, consistently
     applied.

     “Governmental Authority” means the government of the United States or any foreign
     country or any state or political subdivision thereof and any entity, body or authority
     exercising executive, legislative, judicial, regulatory or administrative functions of or
     pertaining to government, and other quasi-governmental entities established to perform
     such functions.

     “Government Authorizations” means all licenses, permits, approvals, certificates of need
     and occupancy, facility certifications, consents and other authorizations from any
     Governmental Authority as are necessary to lawfully own and/or operate the Facilities or
     conduct the Business.

     “Hazardous Materials” means any substance, material, or waste that is or becomes
     regulated by any Governmental Authority including: (i) petroleum, (ii) asbestos, (iii)
     polychlorinated biphenyls, (iv) those substances, materials or wastes designated as a
     “hazardous substance” pursuant to Section 311 of the Clean Water Act or listed pursuant
     to Section 307 of the Clean Water Act or any amendments or replacements to these statutes,
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     (v) those substances, materials or wastes defined as a “hazardous waste” pursuant to
     Section 1004 of the Resource Conservation and Recovery Act or any amendments or
     replacements to that statute, or (vi) those substances, materials or wastes defined as a
     “hazardous substance” pursuant to Section 101 of the Comprehensive Environmental
     Response, Compensation and Liability Act, or any amendments or replacements to that
     statute.

     “IDHS” means the Iowa Department of Human Services.

     “IDIA” means the Iowa Department of Inspections and Appeals.

     “IDPH” means the Iowa Department of Public Health.

      “Improvements” means the buildings and all other improvements, including site
     improvements, landscaping, fixtures, mechanical equipment, apparatus and appliances,
     now owned or leased or hereafter placed in the Facilities, and/or on the Land.

     “Intangible Personal Property” means all engineering and architectural plans and
     specifications, drawings, studies and as-built surveys relating to the Facilities that are in
     Seller’s possession, and any other intangible personal property Seller owns and uses in
     connection with the Facilities.

     “Intellectual Property” means any or all of the following rights: (i) all U.S., international,
     and foreign patents and applications therefor and all reissues, divisions, renewals,
     extensions, provisionals, continuations and continuations-in-part thereof; (ii) all inventions
     (whether or not patentable), invention disclosures, improvements, trade secrets, proprietary
     information, know-how, technology, technical data and customer lists, and all
     documentation relating to any of the foregoing throughout the world; (iv) all industrial
     designs and any registrations and applications therefor throughout the world; (v) all internet
     uniform resource locators, domain names, trade names, logos, slogans, designs, common
     law trademarks and service marks, trademark and service mark registrations and
     applications therefor throughout the world; (vi) all databases and data collections and all
     rights therein throughout the world; (vii) all moral and economic rights of authors and
     inventors, however denominated, throughout the work; and (viii) any similar or equivalent
     rights to any of the foregoing anywhere in the world.

     “Inventory” has the meaning set forth in Section 2.01(a) of this Agreement.

     “Knowledge” with respect to Seller means all facts that a responsible officer of Seller
     employed as of the Execution Date would know or would have reason to know following
     due inquiry and diligence with respect to the matters at hand.

     “Labor Laws and Employment Laws” means all Laws and all contracts or collective
     bargaining agreements governing or concerning labor relations, collective bargaining,
     conditions of employment, employment discrimination or harassment, wages, hours, or

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     occupations safety and health. The term includes ERISA, the Immigration Reform and
     Control Act of 1986, the National Labor Relations Act, the Civil Rights Acts of 1866 and
     1964, the Equal Pay Act, the Age Discrimination in Employment Act, the Americans With
     Disabilities Act, FMLA, WARN Act, OSHA, the Davis Bacon Act, the Walsh-Healy Act,
     the Service Contract Act, the Fair Labor Standards Act, the Rehabilitation Act of 1973, the
     Sarbanes-Oxley Act, any worker’s compensation Law, and all rules and regulations
     promulgated under any of the foregoing Laws.

     “Laws” means all statutes, rules, codes, regulations, restrictions, ordinances, orders,
     decrees, approvals, directives, decisions, judgments, injunctions, writs, executive orders,
     awards, and decrees of, or issued by, any Government Authority.

     “Land” means the real estate described on Exhibit B, together with all easements,
     hereditaments, rights of way, privileges and rights benefiting the same and all strips and
     gores of land lying adjacent to such land that Seller owns.

     “Leases” means all lease or rental agreements involving or pertaining to the Business, to
     which Seller is a party, if any.

     “Licenses” means all notifications, licenses, permits (including environmental,
     construction, and operation permits), franchises, certificates, certificates of need,
     accreditations, approvals, exemptions, waivers, classifications, registrations and other
     similar documents and authorizations any Governmental Authorities have issued, as well
     as all applications for any of the foregoing; provided, however, that Licenses shall not
     include any notifications, licenses, permits (including environmental, construction, and
     operation permits), franchises, certificates, certificates of need, accreditations, approvals,
     exemptions, waivers, classifications, registrations and other similar documents and
     authorizations any Governmental Authorities have issued, as well as all applications for
     any of the foregoing, related to any Excluded Asset.

     “Lien” means any lien (statutory or otherwise), encumbrance, Claim, indebtedness,
     obligation, right, demand, charge, right of setoff, mortgage, deed of trust, security interest,
     pledge, preference, option, lease, license, Tax, right of first refusal or similar interest, title
     defect, easements, rights of way, restrictive covenant, encroachment, judgment,
     conditional sale, title retention agreement or restriction on transfer, or any other interest,
     whether it is secured or unsecured, known or unknown, recorded or unrecorded, contingent
     or liquidated.

     “Material Adverse Effect” means any adverse effect in the business, financial or physical
     condition, or results of operations of the Facilities, the Business, or Seller with respect to
     the Facilities, that is material when taken as a whole, provided, however, that a Material
     Adverse Effect shall not be deemed to include events, changes, effects, conditions, state of
     facts or occurrences arising out of, relating to, or resulting from: (i) changes in the United
     States or foreign economies or financial markets in general; (ii) general changes or
     developments in business, regulatory, or macroeconomic conditions or trends that affect
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     the industries and markets in which the Sellers operate; (iii) any global or national health
     concern, epidemic, disease outbreak, pandemic (whether or not declared as such by any
     Governmental Authority and including “coronavirus” or “COVID-19”) or any Law issued
     by a Governmental Authority requiring business closures, quarantine, “sheltering-in-place”
     or similar restrictions that arise out of such health concern, epidemic, disease outbreak or
     pandemic or any change in such Law following the date of this Agreement; (iv) changes
     after the date of this Agreement in any Laws; (v) the announcement or anticipated
     consummation of the transactions this Agreement contemplates; (vi) the commencement
     or pendency of the Chapter 11 Case; (vii) any objections in the Bankruptcy Court to (A)
     this Agreement or any of the transactions contemplated hereby or thereby, (B) the Bidding
     Procedures Order, or (C) the assumption or rejection of any Contract or Lease pursuant to
     and in compliance with this Agreement

     “Medicare Advance Payments” means unpaid or unreturned accelerated or advance
     Medicare payments received by the Facilities under the Coronavirus Aid Relief, and
     Economic Security Act amending the Accelerated Payments program, and any other
     unpaid or unreturned advance payments or stimulus funds received by the Facilities
     through any federal or state governmental agency providing reimbursement.

     “Operations Transfer Agreement” has the meaning set forth in Section 2.12.

     “OSHA” means the United States Occupational Safety and Health Administration.

     “Out of Compliance” means any of the following (A) a finding by a Governmental
     Authority of one or more deficiencies at any Facility at a “level G” or above that has not
     been corrected and cleared by the applicable Governmental Authority; (B) a denial of any
     Facility’s right to admit patients or to receive Medicare or Medicaid payments or
     reimbursements for existing patients or for new admissions at any Facility (C) any Facility
     loses its operating license or any material Permit; (D) any Facility has any Provider
     Agreement revoked or terminated; and (E) any Facility has its number of beds reduced;
     provided that the Facilities shall not be Out of Compliance if any of the conditions set forth
     in this definition exist at any Facility but are thereafter cured or rectified by the Seller
     within a reasonable period.

     “Person” means any individual, corporation, partnership, joint venture, association, limited
     liability company, trust, unincorporated organization or Governmental Authority.

     “Permitted Encumbrances” means any Encumbrances that remain attached to any
     Acquired Assets, from and after the Closing Date, with Buyer’s consent.

     “Petition Date” means December 29, 2021.

     “Purchase Price” has the meaning set forth in Section 2.03.

     “Qualified Bid” shall have the meaning set forth in the Bidding Procedures.

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       “Records” means all books and records Seller (or its Affiliates) maintain in connection
       with the Facilities or the Business, but excluding any records relating solely to Seller
       corporate entity as distinct from the Facilities or Business.

       “Sale Order” means an Order of the Bankruptcy Court approving the sale to Buyer.

       “Skilled Nursing Facilities” means the facilities consisting of (1) Crestridge, located at
       1015 Wesley Drive, Maquoketa, IA 52060, (2) Winterset Care Center North, located at
       411 East Lane St., Winterset, IA 50273, (3) Crestview Acres, located at 1485 Grand
       Avenue, Marion, IA 52303, (4) Humboldt Care Center North, located at 1111 11th Ave,
       North, Humboldt, IA 50548, (5) Humboldt Care Center South, located at 800 13th St.,
       South, Humboldt, IA 50548, (6) Sunnycrest Nursing Center, located at 401 Crisman St.,
       Dysart, IA 52224, (7) Mitchell Village Care Center, located at 114 Carter St. SW,
       Mitchellville, IA 50169, and (8) Fort Dodge Villa Care Center, located 2721 10th Ave
       North, Fort Dodge, IA 50501.

       “Stalking Horse Bidder” means the bidder identified in accordance with the Bidding
       Procedures Order.

       “Tax Return” means any report, return, declaration or other information required to be
       supplied to any Governmental Authority in connection with Taxes, including estimated
       returns and reports of every kind with respect to Taxes.

       “Taxes” means all taxes, charges, fees, levies, duties, penalties, additions or assessments
       imposed by any Governmental Authority, including income, excise, property, sales,
       transfer, use, ad valorem, profits, occupancy, environmental, sewer, tap, severance,
       franchise, value added or other taxes, including any interest, penalties or additions
       attributable thereto.

       “Third Party” means any Person other than Seller, Buyer or an Affiliate of either.

       “Transaction Documents” means this Agreement and any other agreement, document or
       instrument executed and delivered pursuant to the terms of, or otherwise in connection
       with, this Agreement, including, for the avoidance of doubt, the Bidding Procedures, the
       Bidding Procedures Order and the Sale Order.

       “Treasury Regulations” means the Income Tax Regulations, including Temporary
       Regulations, promulgated under the Code.

       “WARN Act” means the United States Worker Adjustment and Retraining Notification
       Act, as amended from time to time, and the rules and regulations promulgated thereunder.

1.02   General Construction. Whenever the context requires in this Agreement, the singular
       includes the plural and masculine includes the feminine or the neuter. The word
       “including” means “including without limitation.” Words such as “herein,” “hereof,”

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       “hereby” and “hereunder” and words of similar import refer to this Agreement as a whole
       and not to any particular Article, Section or Subsection of this Agreement.

1.03   Schedules and Exhibits. The schedules and exhibits referenced in this Agreement are
       incorporated herein. All items disclosed hereunder shall be deemed disclosed in connection
       with the specific representation to which they are explicitly referenced. If no disclosure
       schedule is attached with reference to a specific Section of this Agreement, then such
       missing schedule shall be deemed to state “None.”

                                    ARTICLE II
                            AGREEMENT AND CONSIDERATION

2.01   Agreement to Sell and Purchase. In consideration of the mutual covenants and promises
       contained in this Agreement, Seller agrees to sell, assign, transfer and convey unto Buyer
       all of Seller’s right, title and interest in and to the assets described in this Section 2.01 (but
       not any Excluded Assets) (collectively the “Acquired Assets”), and Buyer agrees to
       purchase all of Seller’s right, title and interest in and to the Acquired Assets (but not any
       Excluded Assets), all upon the terms and conditions set forth herein. Except for any
       Excluded Assets, the Acquired Assets consist of the following assets, properties and rights
       of Seller as of the close of business on the Closing Date:

        (a)    All inventory, including finished goods, raw materials, work in progress,
        packaging, supplies, parts and other inventories, but excluding the Excluded Assets
        (collectively, the "Inventory");

        (b) All Contracts set forth in Section 2.08(a) of the Disclosure Schedules (the
        "Assumed Executory Contracts");

        (c)    All Intellectual Property;

        (d) All furniture, equipment, machinery, tools, vehicles, office equipment, supplies,
        computers, telephones and other tangible personal property;

        (e)    All Land;

        (f)    All Permits which are held by Seller and required for the conduct of the Business
        as currently conducted or for the ownership and use of the Acquired Assets;

        (g) All rights to any Actions of any nature available to or being pursued by Seller to
        the extent related to the Business, the Acquired Assets or the Assumed Liabilities, whether
        arising by way of counterclaim or otherwise, provided, however, that the rights to any
        Avoidance Action against any party to a Contract of Seller not listed on Section 2.08(a)
        of the Disclosure Schedules as of the Closing or any Action against any director, officer,
        equity-holder, or lender of any Seller are not a Purchased Asset;


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       (h) All of Seller's rights under warranties, indemnities and all similar rights against
       third parties to the extent related to any of the Acquired Assets or Assumed Liabilities;

       (i)   All employee benefit plans set forth in Section 2.01(i) of the Disclosure
       Schedules, solely to the extent designated and agreed by Buyer, including all related
       insurance policies, contracts, trusts and any other assets attributable thereto (the
       "Assumed Benefit Plans");

       (j)   All insurance benefits, including rights and proceeds, arising from or relating to the
       Business, the Acquired Assets or the Assumed Liabilities

       (k) Originals, or where not available, correct and complete copies, of all books and
       records, including books of account, ledgers and general, financial and accounting
       records, customer lists, customer purchasing histories, price lists, distribution lists,
       supplier lists, production data, quality control records and procedures, customer
       complaints and inquiry files, research and development files, records and data (including
       all correspondence with any Governmental Authority), sales material and records
       (including pricing history, total sales, terms and conditions of sale, sales and pricing
       policies and practices), strategic plans, internal financial statements, marketing and
       promotional surveys, material and research and files relating to the Intellectual Property
       Assets ("Books and Records"); and

       (l)   All goodwill and the going concern value of the Business.

2.02   Excluded Assets. The following assets are expressly excluded from the purchase (the
       “Excluded Assets”):

       (a)  All Contracts that are not Assumed Executory Contracts (the "Excluded
       Contracts");

       (b)   Cash and cash equivalents;

       (c)   Accounts receivable;

       (d) The corporate seals, organizational documents, minute books, stock books, Tax
       Returns, books of account or other records having to do with the corporate organization
       of Seller;

       (e)    All rights to any Avoidance Actions against any creditor of Seller not listed in
       Section 2.08(a) of the Disclosure Schedules as of the Closing or any party to a Contract
       of Seller not listed on Section 2.08(a) of the Disclosure Schedules as of the Closing, or
       any Action against any director, officer, equity-holder, or lender of any Seller;

       (a)   Prepaid expenses, credits, advance payments, claims, security, refunds, rights of
       recovery, rights of set-off, rights of recoupment, deposits, charges, sums and fees

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       (including any such item relating to the payment of Taxes) related to prior to the Closing
       Date; and

       (f)    The rights specifically accruing to Seller under the Transaction Documents.

2.03   Consideration. Buyer agrees to pay to Seller the total of Eleven Million and 00/100 Dollars
       ($11,000,000) (the “Purchase Price”) in consideration for the sale of the Acquired Assets,
       subject to the adjustments and credits described herein.

2.04   Good Faith Deposit. Within two (2) business days of the Execution Date, Buyer shall
       provide a good faith deposit of $550,000 in cash to Escrow Agent to be held pending
       Closing. In the event Buyer is not the Prevailing Bidder at auction, Seller shall return the
       good faith deposit to Buyer within three business days of entry of the order approving the
       sale.

2.05   Method of Payment. Buyer will pay the Purchase Price at Closing, less the Medicare
       Advance Payments, in immediately available funds. The Good Faith Deposit shall be
       applied to the Purchase Price.

2.06   Allocation of the Purchase Price. The Purchase Price will be allocated in the manner set
       forth on Exhibit C, said allocation being mutually agreed upon by the parties.

2.07   Excluded Assets. Notwithstanding anything herein to the contrary, Buyer will not acquire
       any interest in the Excluded Assets as a result of this transaction.

2.08   Assumed Liabilities. Buyer will not assume or in any way be responsible for any of the
       debts, liabilities, or obligations of any kind or nature of Seller, other than as specifically
       set forth herein related to Assumed Executory Contracts (collectively, the “Assumed
       Liabilities”).

       (a)    Except as set forth herein, Buyer shall assume and be responsible for all Liabilities
       of Seller under the Assumed Executory Contracts, including any costs to cure any ongoing
       default under any Assumed Executory Contract (the "Cure Costs") in accordance with the
       Bidding Procedures. Section 2.08(a) of the Disclosure Schedules sets forth a correct and
       complete list of all Assumed Executory Contracts as of the date hereof, including any
       Cure Costs associated therewith. Therefore, Buyer shall only be obligated to pay
       Liabilities under contracts which Buyer has explicitly assumed pursuant to section 2.08(a)
       of this Agreement, which will be designated by Buyer, and detailed in section 2.08(a) of
       the Disclosure Schedules. If the Buyer indicates in the Disclosure Schedules that Buyer
       does not wish to assume a Cure Cost, it shall be deemed that Buyer does not assume the
       corresponding contract. Notwithstanding the foregoing, Buyer shall not assume any Cure
       Costs related to any provider agreement (i.e., Medicare, Medicaid or any HMOs), which
       amount shall either be satisfied by Seller simultaneously with the Closing or credited at
       Closing against the Purchase Price.


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2.09   Without limiting the generality of the foregoing, Buyer will have no liability for any
       Excluded Liabilities or Excluded Assets. Other than the Assumed Liabilities, Buyer shall
       not assume from Seller any Liabilities whatsoever, all of which shall be retained by the
       Seller and considered Excluded Liabilities including without limitation:

       (a)     malpractice, professional liability or other tort claims, statutory or regulatory
claims, claims of local, state or federal agencies whether civil or criminal, fraud-based claims or
claims for breach of contract to the extent any such claims are based on acts or omissions of Seller
or events occurring at the Facilities before the Closing Date;

       (b)     any accounts payable, taxes, or other obligation or Liabilities of Seller to pay money
incurred by Seller for periods prior to the Closing Date;

       (c)    any collective bargaining agreements or other agreements or understandings with
any labor union or collective bargaining unit or any employment or consulting agreements of any
kind and any Liabilities arising from any pension fund or benefits programs;

       (d)     any administrative expense Claims accruing in the Chapter 11 Case;

       (e)     Liabilities of Seller arising under or in connection with any Excluded Contract;

       (f)     Liabilities of Seller arising under all employment and change of control contracts,
severance obligations, equity option contracts and equity purchase contracts to which Seller is a
party other than any Liability arising pursuant to any Assumed Contract;

       (g)     Liabilities or obligations in connection with any indebtedness of Seller, except
pursuant to any Assumed Contract or other Assumed Liability;

       (h)     other than Cure Amounts related to the Assumed Contracts, all pre-petition and
post-petition Claims as of the Closing Date, including, without limitation, all trade payables and
general unsecured Claims;

       (i)     any Liability arising out of, under or in connection with the Excluded Assets;

       (j)    all Liabilities relating to (including amounts or notice due to) employees, former
employees, consultants, former consultants or retirees of Seller based on the termination of such
employment or engagement by the Seller, including any amounts due to such Persons prior to
Closing;

       (k)     any Liability that is not an Assumed Liability; and

       (l)      other than Cure Amounts related to the Assumed Contracts, any other Liabilities
arising in whole or in part from Seller’s acts or omissions or in any way related to the operations
of the Facility prior to the Effective Time.


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2.10   Inspection / Due Diligence Period. Buyer agrees that it has conducted sufficient due
       diligence to close the sale and purchase the Acquired Assets as is, where is, other than as
       otherwise agreed by Seller and Buyer.

2.11   Revisions to List of Assumed Executory Contracts. Subject to the terms of any controlling
       Bankruptcy Court order and the requirements of the Bankruptcy Code, Buyer may revise
       Schedule 2.08(a) at any time prior to the Bankruptcy Court’s entry of the Sale Order, by
       giving notice to Seller; provided, however, that such revision shall not result in additional
       cost (including Cure Cost) to Seller., following entry by the Bankruptcy Court of the Sale
       Order. Immediately upon Buyer’s delivery of such written notice to Seller, Schedule
       2.08(a), so revised, will define the scope of the Assumed Executory Contracts in all
       respects pursuant to this Agreement, including the scope of Assumed Liabilities, Assumed
       Executory Contracts, Excluded Liabilities, and Excluded Agreements, and Cure Costs.

2.12   Provider Agreements;

        (a)     Operations Transfer Agreement: The Buyer and Seller shall enter into an ancillary
agreement providing for the orderly transition of the operations of each Facility from the Seller
to the Buyer (the “Operations Transfer Agreement”). The Operations Transfer Agreement shall
specify the terms and conditions of the transition of operations of, and financial responsibility for,
the Facilities from Seller to Buyer for the time period between the entry of the Sale Order and the
Closing Date.

         (b)     Management Agreement. The Buyer and Sellers shall enter into an ancillary
agreement within five (5) Business Days of entry of the Sale Order to transfer management and
operation of the Facilities, subject to Applicable Law (the “Management Agreement”). Pursuant
to the Management Agreement, all economic risk and reward in relation to the operation of the
Facilities transfers to the Buyer on the effective date of the Management Agreement.                 The
effective date of the Management Agreement shall be no later than two (2) weeks following the
earlier of (i) the Auction, or (ii) if no other qualified bids are received and the Auction is cancelled,
the Preliminary Bid Deadline; provided, however, that the parties shall use good faith efforts to
cause the Management Agreement to become effective as soon as feasible after the earlier of (i)
or (ii).

       (c)      Interim Billing. (a) As of the Closing Date and to the extent permitted by Applicable
Law, Seller shall transfer and assign to Buyer all of Seller’s rights and interests in and to Seller’s
Medicare and Medicaid provider numbers and Medicare and Medicaid provider reimbursement
agreements. The Parties acknowledge and agree that Buyer is not expected to have received its
“tie in” notice from Centers for Medicare and Medicaid Services (“CMS”) with respect to Seller’s
Medicare or Medicaid provider agreements or any new Medicare or Medicaid provider
agreements (collectively, the “Provider Agreements”) as of the Closing Date. Prior to Buyer’s
receipt of its tie in notice and Provider Agreements, so long as Buyer is accepting assignment of
the Provider Agreements and is utilizing commercially reasonable efforts to become the certified
Medicare and/or Medicaid provider, as applicable, at the Facility, Seller agrees that Buyer may
bill for services performed following the Closing under Seller’s Medicare and/or Medicaid
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provider number, as applicable, to the extent permitted by Applicable Law. (b) The Parties
acknowledge and agree that Seller’s managed care provider plans and agreements with other
third-party payors are not expected to have been updated with Buyer’s provider information as of
the Closing Date. From and after the Closing Date until such managed care provider plans and
agreements with other third-party payors are updated with Buyer’s provider information, Seller
agrees that Buyer may bill for services provided following the Closing under Seller’s managed
care provider plans and agreements with other third-party payors using Seller’s provider
information to the extent permitted by Applicable Law and the terms and conditions of the plans
and agreements with the third party payors. (c) Any reimbursements from Medicare or Medicaid
billed by Buyer for dates of service after the Closing Date which are paid into Seller’s accounts
shall be forwarded by Seller to Buyer.

                                     ARTICLE III
                           REPRESENTATIONS AND WARRANTIES

3.01     Seller’s Representations and Warranties. Seller represents and warrants to Buyer as
         follows and agrees that each of the following will be true and correct on the Execution Date
         and the Closing Date. This Section 3.01 contains the full and complete list of Seller’s
         representations and warranties to Buyer. Seller covenants as follows:

   (a)    Organization of Seller. Each Seller as listed in the preamble above is either a limited
          liability company or corporation duly organized and validly existing and in good standing
          under the laws of the State of Iowa.

   (b)    Authority. The execution and delivery of this Agreement and the Ancillary Agreements
          to which it is a party, and the consummation of the transactions herein contemplated have
          been duly and validly authorized by all necessary action on the part of Seller. Subject to
          the Bankruptcy Court’s entry of the Sale Order, this Agreement has been, and any
          Ancillary Agreements will be as of the Closing Date, duly executed and delivered by
          Seller, and do or will (as the case may be) constitute Seller’s valid, legal, and binding
          obligation according to their terms.

   (c)    Consents and Authority. Except for the Bankruptcy Court’s entry of the Sale Order,
          Seller has obtained all corporate approvals and membership consents necessary to
          consummate the transactions contemplated therein.

   (d)    Title. Seller has delivered to or made available for Buyer’s review true, correct, and
          complete copies of the title abstracts for all real estate in which Seller has an interest.

   (e)    Litigation and Compliance with Laws. To Seller’s Knowledge, Schedule 3.01(e) sets
          forth a complete and accurate description of any litigation, proceeding, claim or
          investigation threatened or pending before any court, arbitrator or administrative agency
          affecting or relating to Seller or Seller’s operation of the Facilities.



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  (f)   Utilities. To Seller’s Knowledge, all water, gas, electricity, telephone, cable, drainage
        facilities, sewer and other utilities required for the operation of the Facilities either enter
        the Land through adjoining public streets or, if they pass through adjoining private land,
        they do so in accordance with recorded easements.

  (g)   Tax Returns; Taxes. Except as precluded by the Bankruptcy Code, Seller has filed all
        Tax Returns due as of the Execution Date of this Agreement and has or will pay all Taxes
        against the Facilities and/or Seller that relate to Seller’s ownership and/or operation of
        the Facilities, or that could constitute an Encumbrance against the Facilities, if and when
        they are due and payable.

  (h)   Non-Foreign Status. Seller is not a foreign entity (as the term is defined in the Internal
        Revenue Code and Income Tax Regulations) and Seller agrees to execute a Certificate of
        Non-Foreign Status pursuant to Section 1445 of the Internal Revenue Code at Closing.

  (i)   Broker’s Fee. Seller is solely responsible for satisfying any Claim relating to any broker
        or advisor with respect to the transactions this Agreement contemplates for a brokerage
        commission, consulting fee, finder’s fee or similar payment.

  (j)   Bulk Sales Law. Seller has complied, or will comply, with any applicable bulk sales law
        requirements applicable to the sale of the Facilities, at its sole expense.

  (k)   Environmental Matters. To Seller’s Knowledge, except as set forth on Schedule 3.01(t),
        the Facilities are in compliance with all federal, state and local environmental, health and
        safety laws, statutes ordinances and regulations, including all laws relating to Hazardous
        Materials, and wetlands.

  (l)   Employee Plans. Except as otherwise may be prohibited by law, Seller has delivered to
        or made available for Buyer’s review true, correct, and complete copies of Seller’s
        Employee Plans.

  (m) Fraud and Abuse. Except as set forth on Schedule 3.01(t), to Seller’s Knowledge, Seller
      has not engaged in any activities that are prohibited under 42 U.S.C. §1320a-7b or 42
      U.S.C. 1395, or the regulations promulgated thereunder, or any applicable related Law,
      or that are prohibited by rules of professional conduct, including the following: (a)
      knowingly and willfully making or causing to be made a false statement or representation
      of a material fact in any application for any benefit or payment; (b) knowingly and
      willfully making or causing to be made any false statement or representation of a material
      fact for use in determining rights to any benefit or payment; (c) any failure by a claimant
      to disclose knowledge of the occurrence of any event affecting the initial or continued
      right to any benefit or payment on its own behalf or on behalf of another, with the intent
      to fraudulently secure such benefit or payment; and (d) knowingly and willfully soliciting
      or receiving any remuneration (including any kickback, bribe or rebate) directly or
      indirectly, overtly or covertly, in cash or in kind, or offering to pay or receive such
      remuneration (i) in return for referring an individual to a person for the furnishing or
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        arranging for the furnishing of any item or service for which payment may be made in
        whole or in part by Medicare or Medicaid, or (ii) in return for purchasing, leasing or
        ordering or arranging for, or recommending, purchasing, leasing or ordering any good,
        facility, service or item for which payment may be made in whole or in part by Medicare
        or Medicaid. Seller is not and at no time has been suspended or excluded from
        participation in any federally funded health care program, including Medicare or
        Medicaid.

  (n)   Insurance Policies. Seller has delivered to or made available for Buyer’s review true,
        correct, and complete copies of Seller’s policies of insurance applicable to Seller, and the
        Facilities, including medical malpractice insurance covering all physicians and other
        professional personnel Seller has engaged or employed, general liability insurance,
        property insurance, employer’s liability and workers’ compensation insurance.

  (o)   Certificates of Need. Seller has delivered to or made available for Buyer’s review true,
        correct, and complete copies of Seller’s certificates of need; (ii) letters of non-
        reviewability; or (iii) other exemptions from certificate of need review, that Seller holds
        or uses in the operation of the Business. Schedule 3.01(o) sets forth a true, correct, and
        complete list of all such documents.

  (p)   Medical Staff. Seller has delivered to or made available for Buyer’s review true, correct,
        and complete copies of Seller’s (i) medical staff privilege and membership application
        forms; (ii) delineation of privilege forms; current medical staff bylaws, rules and
        regulations, and amendments thereto; (iii) credentials and appeals procedures not
        incorporated in any of the foregoing; and (iv) contracts with physicians, physician
        groups, or other members of the medical staff of the Facilities.

  (q)   Hill-Burton and Other Liens. Seller has not received any loans, grants, or loan guaranties
        pursuant to the United States Hill-Burton Act (42 U.S.C. § 291a, et seq.) program, the
        Health Professions Educational Assistance Act, the Nurse Training Act, the National
        Health Pharmacy and Resources Development Act, or the Community Mental Health
        Centers Act. To Seller’s Knowledge, none of the Acquired Assets are subject to any
        liability in respect of amounts received by Seller or others for the purchase of the
        Acquired Assets (or any part thereof) under restricted or conditioned grants or donations,
        including monies received under the Public Health Services Act (42 U.S.C. § 291, et
        seq.).

  (r)   Experimental Procedures. Neither Seller, nor any officers, employees or agents of Seller,
        have performed or permitted to be performed, nor do they have Knowledge of the
        performance of, any experimental procedures involving patients/residents in the
        Facilities.

  (s)   Permits. Except as set forth on Schedule 3.01(s), the Facilities are duly licensed in
        accordance with the Laws of the State of Iowa, DOH and all other ancillary departments
        or services located at or operated for the benefit of, the Facilities that are required to be
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        separately licensed are duly licensed by the appropriate Governmental Authority. To the
        Knowledge of Seller, Seller has all Permits which are needed or required by Law to
        operate its business related to or affecting the Facilities or any ancillary services related
        thereto as currently conducted. Schedule 3.01(s) is a true, complete and accurate list all
        material Permits owned or held by or issued to Seller relating to the ownership or
        operation of the Facilities or the Acquired Assets and such Permits constitute all material
        Permits necessary for the conduct of the Business and operation of the Facilities as
        currently conducted and for the ownership of the Facilities by Seller and operation and
        use of the Acquired Assets by Seller, all of which are in full force and effect.

  (t)   Compliance. Except as set forth on Schedule 3.01(t), or to the extent such failure would
        not constitute a Material Adverse Effect, to the Knowledge of Seller, Seller is complying
        in all material respects with all applicable statutes, rules, regulations, and requirements
        of each Governmental Authority having jurisdiction over the Seller, the operations of the
        Facilities and the Acquired Assets.

  (u)   Licensed Beds and Current Rate Schedule. Schedule 3.01(u) sets forth a true, correct
        and complete statement, as of three (3) Business Days prior to the Execution Date, of: (i)
        the number and type of licensed beds at the Facilities, and (ii) the number of beds then
        occupied in, and the occupancy percentages at, the Facilities.

  (v)   Prohibited Practices. Except as set forth on Schedule 3.01(t), during the eighteen (18)
        month period prior to the Execution Date, no officers or directors of Seller have, during
        their period of engagement with Seller, been charged with, convicted of or pleaded guilty
        to crimes of theft or dishonesty, financial misconduct, or offenses related to the delivery
        of health care services, nor, to Seller’s Knowledge, have any of Seller’s current officers
        or directors been excluded from participation in Medicare, Medicaid or any other state
        or federal government reimbursement program. To Seller’s Knowledge, during the
        eighteen (18) month period prior to the Execution Date, none of Seller’s officers,
        directors or employees has engaged in any conduct that may result in sanctions to Seller
        under any federal or state laws.

  (w) Government Investigations. Except as set forth on Schedule 3.01(t), other than for
      routine state and federal inspections or surveys performed by DOH, during the eighteen
      (18) month period prior to the Closing Date, Seller has received no written notice of the
      commencement of any investigation proceedings or any governmental investigation or
      action (including any civil investigative demand or subpoena) under Laws.

  (x)   Cost Reports. Seller has filed all cost reports required to be filed for the Facilities as of
        the Closing Date under Law. Seller has furnished Buyer with copies of all cost reports
        filed by Seller with the appropriate State agency, the appropriate Medicare and Medicaid
        agencies and/or fiscal intermediaries in respect of the operation of the Facilities for the
        years ended December 31 2020 and 2019, and to Seller’s Knowledge, such cost reports
        did not contain any material disallowable costs or expenses or any untrue statement of a
        material fact or omit to state a material fact necessary in order to make the statements
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         contained therein not misleading, and, to Seller’s Knowledge, such cost reports have been
         prepared in all material respects in accordance and compliance with all applicable
         government rules and regulations.

   (y)   Financial Information.

                      (i)     Schedule 3.01(y) hereto contains the following financial statements
and financial information (collectively, the “Historical Financial Information”):

unaudited financial statements consisting of the balance sheet of the Business as of December 31,
2021, and the related statements of income and net surplus/deficit, and cash flow for the 12-month
period ended on December 31, 2020 (the “Unaudited Financial Information”).

                       (ii)     The Unaudited Financial Information included in the Historical
Financial Information has been prepared consistent with past practice and may not include required
footnote disclosures or reflect normal year-end adjustments. Seller has not changed in any material
respects any accounting policy or methodology in calculating reserves, including reserves for
uncollected accounts receivable, throughout all periods presented in the Historical Financial
Information.

         (z)   Real Property.

                        (a)     Schedule 3.01(z) contains an accurate and complete legal
               description, street address and tax parcel identification number for the Land. Seller
               holds good and indefeasible fee simple title to all the Land and shall convey the
               Land in accordance with the Sale Order free and clear of all Liens (other than the
               Permitted Liens). Seller is not a lessee of any portion of the Land. Seller agrees
               that title to the Land shall not be altered between the Execution Date and Closing.
               Except as set forth on Schedule 3.01(z), other than the right of Buyer pursuant to
               this Agreement, there are no outstanding agreements, options, rights of first offer,
               rights of first refusal, or any other grant to third party to sell, purchase, lease,
               sublease, use, occupy, or enjoy the Land or any portion thereof or interest therein.

                       (b)     Except as set forth on Schedule 3.01(t), Seller has not received
               written notice from any Governmental Authority of (and otherwise has no
               Knowledge of): (i) any pending or threatened condemnation proceedings affecting
               the Land, or any part thereof; (ii) any written notice asserting or alleging any
               material violations or potential violations of any Laws (including zoning and land
               use ordinances, building codes and similar requirements) with respect to the Land,
               or any part thereof, which have not heretofore been cured; or (iii) any pending or
               threatened proceedings, nor any claims or actions against Seller or the Land,
               relating to the ownership, lease, use or occupancy of such Land or any portion
               thereof which is reasonably likely to result in a material change in the condition of
               the Land or the ownership or operation of the Land. Seller has not received any

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                written notice of any pending zoning or other land use change affecting the real
                property.

                        (c)    Neither Seller nor, to Seller’s Knowledge, any other person is in
                violation of a condition or agreement contained in any easement, restrictive
                covenant or any similar instrument or agreement affecting any of the Land in any
                material respect.

                        (d)   To Seller’s Knowledge, except as set forth on Schedule 3.01(z), the
                Land is zoned for its current use and there are no waivers or variances granted by
                any Governmental Authority which, as a result of the transactions contemplated in
                this Agreement, will be withdrawn or abrogated, including but not limited to life
                safety code waivers.

3.02    Buyer’s Representations and Warranties. Buyer makes the following representations and
        warranties to Seller, which will be true and correct as of the date made and the Closing
        Date:

       (a) Organization of Buyer. Buyer is a limited liability company duly organized, validly
           existing, and in good standing under the laws of the State of Delaware and licensed to do
           business in the State of Iowa.

       (b) Authority. The execution and delivery of this Agreement and the consummation of the
           transactions herein contemplated have been duly and validly authorized by all necessary
           corporate action on the part of Buyer, and this Agreement constitutes, and the documents
           contemplated hereby will be, Buyer’s valid and legally binding obligations, enforceable
           according to their terms.

       (c) Conflict or Default. Neither the execution nor delivery of this Agreement, nor the
           consummation of the transactions herein contemplated will conflict with, violate, result
           in a breach by, constitute a default under or accelerate the performance provided by the
           terms of any Law or agreement to which Buyer may be subject.

3.03    Full Disclosure. To their Knowledge, no representation or warranty by Seller or Buyer,
        and no statement, document, financial statement, certificate or other instrument, schedule
        or exhibit furnished or to be furnished hereunder or in connection with the transactions
        contemplated hereby (including all exhibits and schedules hereto) contains or will contain
        any untrue or misleading statement of fact or omit to state or contain anything necessary to
        make such matter correct, complete and not misleading in all respects and to fairly present
        the information set forth in a manner that is not misleading.




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                                        ARTICLE IV
                                     TITLE AND SURVEY

4.01   Title Report and Policy. Promptly after the Execution Date, Seller will use good faith
       efforts to deliver for Buyer’s review true, correct, and complete copies of all abstracts of
       title to the Land. If the abstracts are not available, Buyer shall promptly order, or shall
       order a title commitment from the Escrow Agent. An abstract for any parcel of Land
       purchased will become the property of Buyer when Buyer pays the Purchase Price in full.
       Seller will pay the cost of any additional abstracting title work due to any act or omission
       of Seller. Buyer may elect to obtain a title insurance policy in lieu of an attorney’s opinion
       at Buyer’s expense. Any objections to the title commitment Buyer identifies will be treated
       in the same manner as title objections in the attorney’s title opinion. Buyer shall have the
       right to object to anything material shown in the abstract (or title commitment) and survey,
       other than matters set forth in (3) through (6) below, by written notice (“Buyer Objection
       Letter”) to Seller with five (5) business days of receipt of both the abstract (or title) and
       survey (the “Unpermitted Exceptions”). Seller shall identify whether or not it is willing or
       capable of correcting within ten (10) business days of receipt of the objection letter. If
       Seller determines not to remove or correct such Unpermitted Exceptions, then Buyer may
       elect upon written notice to Seller made within three (3) Business Days after Buyer’s
       receipt of the Seller objection response: (i) to terminate this Agreement as to that specific
       Facility or Land by written notice to Seller, in which event the Deposit shall be refunded
       to Buyer and neither party shall have any further liability to any other party under
       Agreement, except as otherwise provided in this Agreement; or (ii) to take the Property
       subject to such Unpermitted Exceptions, without adjustment to the Purchase Price, in
       which case such Unpermitted Exceptions shall become Permitted Exceptions. Any
       objection by the Buyer to something material in an abstract or survey shall only apply as a
       right to terminate the Agreement as to the Land subject to such abstract or survey and Buyer
       shall not have the right to terminate the entire Transaction. As used herein, “Permitted
       Exceptions” means: (1) all restrictions, reservations, covenants and easements of record, if
       any, to which Buyer fails to object in its Buyer Objection Letter; (2) all matters disclosed
       on the Survey to which Buyer fails to object in its Buyer Objection Letter; (3) all current
       period Taxes not yet due and payable; (4) any covenants, conditions, or restrictions, or
       applicable Laws or other governmental regulations, governing or limiting the use of the
       property, in each case that are not violated by the existing improvements or the current use
       thereof; (5) any utility or other easements that would qualify under the foregoing clause
       and which further do not underlay any of the existing improvements on the Property; and
       (6) liens created by, through, or under Buyer.

4.02   Survey. Seller has delivered to or made available for Buyer’s review any surveys of Land
       in its possession. Prior to Closing, Buyer may at its expense obtain a survey of the Land,
       or update an existing survey at Buyer’s expense.




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                                          ARTICLE V
                                          CONDITIONS

5.01     Conditions to Buyer’s Obligations. Buyer’s obligations under this Agreement are
         conditioned upon the following (which Buyer may waive, in whole or in part, in writing):

   (a)    Performance of Covenants. Seller has, in all material respects, timely performed all
          covenants and obligations, and timely complied with all conditions required of Seller by
          this Agreement.

   (b)    Representations and Warranties. All of Seller’s representations and warranties are true,
          complete and correct, in all material respects, on the Execution Date and as of the Closing
          Date as if made at that time (other than the representations and warranties that by their
          terms address matters only as of another specified date, which shall be so true, complete
          and correct, in all material respects, only as of such other specified date), except where
          the failure of such representations and warranties to be true, complete and correct, in all
          material respects, had not had, and would not reasonably be expected to have,
          individually or in the aggregate, a Material Adverse Effect.

   (c)    Closing Documents. At the Closing, Seller will deliver or cause to be delivered each of
          the items required of it as specified in Section 8.02 of this Agreement.

   (d)    Litigation. Following the Execution Date, no notice has been received as to litigation
          commenced or Claim made or threatened against any Person, by any other Person with
          regard to this Agreement, or the transactions provided for in this Agreement that, if
          successfully prosecuted, would have a Material Adverse Effect on Buyer.

   (e)    Sale Approval Motion. Seller shall have filed a motion with the Bankruptcy Court
          seeking entry of the Sale Order, in form and substance satisfactory to Buyer (the “Sale
          Approval Motion”).

   (f)    Bidding Procedures Order. There shall have been entered prior to any Auction, an Order
          of the Bankruptcy Court in the Bankruptcy Case (the "Bidding Procedures Order")
          approving, among other things: (i) in the event of an accepted overbid from a third party
          for the Acquired Assets and the closing of a transaction with respect thereto with such
          third party (a "Third Party Closing"), the payment of the Break-Up Fee to Buyer; (ii) an
          initial minimum overbid for any Auction in the amount of $100,000 plus the Break-Up
          Fee and a $100,000 minimum for additional overbids thereafter; (iii) that the Break-Up
          Fee shall be paid to Buyer from (and at the time of) the proceeds of the Third Party
          Closing, and the claim of Buyer for the Break-Up Fee shall have administrative expense
          priority under section 503(b)(1)(a) of the Bankruptcy Code, in each case, in accordance
          with the terms and conditions of the Bidding Procedures Order; and (iv) that, during any
          Auction, the Buyer shall receive a credit in connection with each bid in an amount equal
          to the sum of the Break-Up Fee.


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  (g)   Auction. If there have been any Qualified Bids (as defined in the Bidding Procedures
        Order), Seller shall have conducted an auction sale (the "Auction") of the Acquired
        Assets in accordance with the Bidding Procedures approved by the Bankruptcy Court in
        the Bidding Procedures Order no later than the Auction (or such later date for which
        notice is provided in the Bidding Procedures Order or as Seller and Buyer may otherwise
        mutually agree), and Buyer's offer shall have been accepted by Seller as the highest or
        best offer for the Acquired Assets at the conclusion of the Auction.

  (h)   Consent. All certifications, consents, waivers, approvals, authorizations, Government
        Authorizations and determinations from and by third parties necessary legally to
        consummate the transactions contemplated herein have been obtained.

  (i)   Title Policy. If applicable, any title insurance policy described in Article IV of this
        Agreement has been issued.

  (j)   Condition of Acquired Assets. Following the Execution Date, there has been no material
        adverse damage to the Facilities.

  (k)   Subsequent Events. Except as set forth on Schedule 3.01(t) and Schedule 3.01(e), no
        action, investigation, Claim or proceeding has been instituted or threatened, or other
        matters occurred, that involve the likelihood of a Material Adverse Effect on the Business
        or the Facilities, and no action, investigation or proceeding has been instituted or
        threatened before any court or Governmental Authority to restrain or prohibit, or to obtain
        substantial damages in respect of, this Agreement, or the consummation of the
        transactions herein contemplated.

  (l)   Other Deliveries. Seller has delivered other items and deliveries relating to the Facilities
        as Buyer reasonably requests.

  (m) Licenses. The Sale Order shall include approval of the Operations Transfer Agreement
      to allow Buyer to operate the Facilities until it has obtained all of the licenses required to
      operate the Facilities from the DOH.

  (n)   Compliance. No Facility shall be Out of Compliance, except as set forth on Schedule
        3.01(t).

  (o)   Material Adverse Effect. There will have occurred following the date hereof no events
        nor will there exist circumstances which singly or in the aggregate have resulted in a
        Material Adverse Effect, provided, however, closure of one facility, including, without
        limitation, loss of license or provider agreement, shall be considered a Material Adverse
        Effect only with respect to that one respective facility and shall not be deemed a Material
        Adverse Effect to the entire Transaction. Such Material Adverse Effect involving a
        particular facility shall result in a corresponding Purchase Price adjustment in an amount
        equal to the corresponding amount on Schedule 5.01(o).


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   (p)     Sale Order. The Bankruptcy Court has entered the Sale Order and as of Closing, such
           Sale Order remains in full force and effect.

5.02     Conditions to Seller’s Obligations. Seller’s obligations under this Agreement are
         conditioned upon the following (which Seller may waive, in whole or in part, in writing):

       (a) Performance of Covenants. Buyer has timely performed all covenants and obligations,
           and timely complied with all conditions this Agreement require of Buyer in all material
           respects, including paying the Purchase Price to Seller.

       (b) Representations and Warranties. All of Buyer’s representations and warranties contained
           herein are true, complete and correct in all material respects on the Execution Date and
           as of the Closing Date, as if made at that time.

       (c) Conveyances. Buyer and Seller have received all third party certifications, covenants,
           waivers, approvals, authorizations, Government Authorizations and determinations
           necessary to legally consummate the transactions contemplated herein.

       (d) Payment of Purchase Price. Buyer has delivered the Purchase Price by wire transfer of
           immediately available funds.

       (e) Other Deliveries. Buyer has delivered other items and deliveries relating to the Facility
           as Seller reasonably requests.

       (f) Sale Order. The Bankruptcy Court has entered the Sale Order and as of Closing, such
           Sale Order remains in full force and effect.

                                           ARTICLE VI
                                          TERMINATION

6.01     Termination. This Agreement may be terminated as follows:

                  (a)    At any time by the mutual written agreement of the Seller and the Buyer;

              (b)     Automatically, upon the consummation of any Acquisition Transaction
between the Seller and a party other than the Buyer;

                (c)     By the Buyer, at its sole election, in the event that the Closing shall not
have occurred prior to 120 days from entry of the Sale Order, subject to change of ownership
approval by the regulatory agencies (the "Outside Date"); provided that the Buyer shall not be
entitled to terminate this Agreement pursuant to this Section 6.01 if the failure of the Closing to
occur on or prior to such date results primarily from the Buyer itself materially breaching any
representation, warranty or covenant contained in this Agreement;

              (d)    By the Seller, at its sole election, in the event that the Closing shall not
have occurred on or before the Outside Date; provided that the Seller shall not be entitled to
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terminate this Agreement pursuant to this Section 6.01(d) if the failure of the Closing to occur
on or prior to such date results primarily from the Seller materially breaching any representation,
warranty or covenant contained in this Agreement;

                (e)     By the Buyer, at its sole election, in the event of a material breach of this
Agreement by the Seller that has not been cured within ten (10) Business Days after written
notice to the Seller, or if any representation or warranty of the Seller shall have become untrue
in any material respect, in either case such that such breach or untruth is incapable of being cured,
by the Outside Date. Buyer shall not have a right to terminate under this section if Buyer is in
material breach or any of its representations and/or warranties are untrue such that satisfaction of
conditions to close under section 5.01 would be prevented;

                (f)    By the Seller, at its sole election, in the event of a material breach of this
Agreement by the Buyer that has not been cured within ten (10) Business Days after written
notice to the Buyer, or if any representation or warranty of the Buyer shall have become untrue
in any material respect, in either case such that such breach or untruth is incapable of being cured,
by the Outside Date. Seller shall not have a right to terminate under this section if Seller is in
material breach or any of its representations and/or warranties are untrue such that satisfaction of
conditions to close under section 5.02 would be prevented;

               (g)     By the Buyer, at its sole election, upon the granting of any motion for relief
from the automatic stay which would have a Material Adverse Effect, the conversion of the Case
to a case under Chapter 7 of the Bankruptcy Code, the dismissal of the Case, the filing of any
plan of reorganization by any party in interest that does not incorporate this Agreement, the filing
of any motion by a party in interest in the Case to liquidate the Acquired Assets or any similar
commencement of liquidation proceedings relating to the Seller, other than as contemplated
herein, which is not dismissed within thirty (30) days, or upon the commencement of any similar
actions or proceedings in or by any foreign court with respect to the Seller, which are not
dismissed within thirty (30) days;

                (h)    By the Buyer, at its sole election, if any of the conditions set forth in
Section 5.01 shall not have been, or the facts and circumstances are such that any of such
conditions cannot be, fulfilled by the Outside Date, unless such failure shall be primarily due to
the failure of Buyer to perform or comply with any of the covenants, agreements or conditions
hereof to be performed or complied with by it prior to the Closing;

                (i)     By the Seller, at its sole election, if any of the conditions set forth in
Section 5.02 shall not have been, or the facts and circumstances are such that any of such
conditions cannot be, fulfilled by the Outside Date, unless such failure shall be primarily due to
the failure of Seller to perform or comply with any of the covenants, agreements or conditions
hereof to be performed or complied with by it prior to the Closing;

               (j)    By the Buyer, upon entry by the Bankruptcy Court of any Order, or any
other Governmental Authority of any Governmental Order, that is inconsistent in any material
respect with the proposed Sale Order or, upon entry, with the Sale Order;

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               (k)    By the Buyer, if there shall be any Law that makes consummation of the
transactions contemplated by this Agreement or any other Transaction Document illegal or
otherwise prohibited;

               (l)    By the Seller, if there shall be any Law that makes consummation of the
transactions contemplated by this Agreement or any other Transaction Document illegal or
otherwise prohibited; or

               (m)    By the Buyer, if any Governmental Authority shall have issued a
Governmental Order restraining or enjoining the transactions contemplated by this Agreement
or any other Transaction Document, and such Governmental Order shall have become final and
non-appealable; or

               (n)    By the Seller, if any Governmental Authority shall have issued a
Governmental Order restraining or enjoining the transactions contemplated by this Agreement
or any other Transaction Document, and such Governmental Order shall have become final and
non-appealable.

6.02 Effect of Termination.

               (a)     In the event of the termination of this Agreement in accordance with
this Article VI, this Agreement shall immediately become void and there shall be no liability
on the part of any party hereto except (a) confidentiality obligations; (b) as set forth in t his
Article VI, Section 6.02, Article XII, and Article XIII; (c) any obligations for material breach
of this Agreement occurring prior to such termination; and (d) that nothing herein shall
relieve any party hereto from liability for any willful breach of any provision hereof (which,
for the avoidance of doubt, will be deemed to include any failure by Buyer to consummate
the Closing if and when it is obligated to do so hereunder with no outstanding breach or
unsatisfied closing condition by Seller).

               (b)    Breach by Buyer. In the event of termination of this Agreement pursuant to
Section 6.01(f) due to a breach by Buyer, Sellers shall be entitled to to retain the Deposit as
liquidated damages.

              (c)     Deposit.

                      (i)    In the event of a valid termination of this Agreement pursuant to
              Section 6.01(f) due to a breach by Buyer, Sellers shall be entitled to receive the
              Deposit. In the event of such termination, the Parties shall direct the Escrow Agent
              to pay the Deposit to Sellers. The Sellers’ receipt of the Deposit pursuant to this
              Section 6.02(c) is the only remedy available and will be liquidated damages.

                     (b)     In the event of termination of this Agreement pursuant to Section
              6.01 (except pursuant to Section 6.01(f)), the Parties shall direct the Escrow Agent
              to promptly return the Deposit to Buyer.
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6.03 Procedure Upon Termination. In the event of termination by Buyer or Seller, or both,
pursuant to Section 6.01, notice thereof shall forthwith be given to the other party. If this
Agreement is terminated as provided herein, each party shall redeliver all documents, work papers
and other material of any other party relating to the transactions contemplated by this Agreement,
whether so obtained before or after the execution hereof, to the party furnishing the same as soon
as reasonably practicable following termination.


                          ARTICLE VII
BANKRUPTCY COURT APPROVAL OF THE BUYER AS “STALKING HORSE” BIDDER

7.01   Motions and Notices Regarding Sale of Assets and Assumption and Assignment of
       Assumed Executory Contracts

   (a) Seller shall seek prompt entry of the Sale Order pursuant to the Sale Motion after
       sufficient notice has been given, which Sale Order shall include, among other things,
       findings of fact and conclusions of law that the Buyer is not a successor-in-interest to
       the Seller or any Affiliate of Seller and that the Buyer is a good faith purchaser pursuant
       to Bankruptcy Code section 363(m).

   (b) The Seller covenants that, to the extent that it has not done so prior to the date of this
       Agreement, they shall promptly serve the third parties who are parties to Assumed
       Executory Contracts (such third parties being "Cure Obligees") with written notice of
       proposed cures on the Assumed Executory Contracts (such notice being the “Cure
       Notice"), which Cure Notice shall be provided to the Buyer within the time periods
       provided by the Bidding Procedures Order. The Cure Notice shall, as set forth in the
       Bidding Procedures Order, establish a deadline reasonably in advance of the Closing
       Date by which Cure Obligees must object to respective proposed cures or be deemed
       to have waived any such objection.

7.02   Requests for Information. From the date of the approval of the Bidding Procedures Order
       (a) if the Seller supplies any information regarding the Business to a potential bidder not
       heretofore given to the Buyer, the Seller shall further provide the Buyer with a copy of such
       information within 24 hours of providing that information to any other potential bidder; and
       (b) with respect to any bid, term sheet, or written expression of interest by any other party
       for any asset or assets of any Seller, or any other reorganization proposal, submitted prior
       to the bid deadline established in the Bidding Procedures Order, the Seller shall provide
       the Buyer with prompt notice of such proposal.

7.03   Break-Up Fee. If this Agreement is terminated for any reason except pursuant to Section
       6.01(a) or Section 6.01(f), then in consideration of the real and substantial benefits
       conferred by the Buyer upon the Seller's bankruptcy estate by providing a minimum floor
       bid upon which the Seller, its creditors and the other bidders were able to rely and in
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       consideration of the time, expense and risks associated with serving as the "Stalking
       Horse" Bidder, including legal fees and expenses, overhead costs, due diligence expenses
       and other similar expenses related to the negotiation and preparation of this Agreement
       and of all related transactional documentation, due diligence and representation, the Seller
       shall pay to the Buyer, at the time of the closing of the sale of the Acquired Assets to the
       successful bidder for the Acquired Assets, solely from the sale proceeds received by the
       Seller from the closing of the Acquisition Transaction, provided that the Buyer is not then
       in material default of its obligations under this Agreement, the Break-Up Fee. The Seller
       and Buyer agree and stipulate that the Buyer has provided a mutual benefit to the Seller's
       estate by increasing the likelihood that the best possible price for the Acquired Assets
       shall be received and that the Break-Up Fee is reasonable and appropriate in light of the
       size and nature of the proposed sale transactions and comparable transactions, the
       commitments that have been made and the efforts that have and shall be expended by the
       Buyer and were necessary to induce the Buyer to pursue the transactions contemplated
       hereby under the terms of this Agreement. The Break-Up Fee also shall serve as liquidated
       damages with respect to any claims the Buyer may have against the Seller in connection
       with the Seller's failure to close the sale of the Acquired Assets to the Buyer as
       contemplated by this Agreement and Buyer shall provide a release to the Seller of any and
       all such claims upon payment of the Break-Up Fee.

7.04   Defense of Orders. The Seller, at its sole cost and expense, shall diligently defend the
       Bidding Procedures Order and the Sale Order in the event that any motion for
       reconsideration or appeal of such Orders is filed.

                                        ARTICLE VIII
                                          CLOSING

8.01   Closing.

        (a) Subject to satisfaction of the terms and conditions of this Agreement, including those
        set forth in Article V, the consummation of the transactions this Agreement contemplate
        (the “Closing”) will occur on a date (the “Closing Date”) not later than the first day of
        the first month after not less than five (5) Business Days after the satisfaction or waiver
        of all conditions in Article V, or on such other date as Buyer and Seller mutually agree;
        provided, however, that the Closing Date shall not be required to occur prior to seventy-
        five (75) days after the entry of the Sale Order, but the Buyer may elect to the Closing at
        any point prior.

        (b) The Closing shall be held at a location and on a date and at a time mutually agreed
        upon by Seller and Buyer, but absent such agreement shall be held at a time and place in
        Des Moines, Iowa, designated by Buyer in writing to Seller, unless mutually agreed-upon
        that the closing shall occur by mail or electronic mail by delivery of the closing items.
        Notwithstanding the foregoing time and place of Closing, Seller and Buyer may deliver
        all of their respective closing documents required hereunder with respect to the Closing
        on or before the Closing Date (to hold in escrow in accordance with customary
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          conveyancing practices subject to the consummation of the Closing) by mail, electronic
          mail, or overnight courier.

8.02    Seller’s Closing Documents. Seller will deliver to Buyer the following documents at
Closing in form and substance acceptable to Buyer:

       (a) Warranty Deed. A general warranty deed conveying to Buyer title to the purchased
           Land and Improvements in fee simple, free and clear of all Liens and Encumbrances,
           except Permitted Encumbrances.

       (b) Bills of Sale. One or more Bills of Sale containing general warranty of title conveying
           to Buyer the purchased Equipment, the Intangible Personal Property, the Records, and
           all components of the Facilities that constitute personalty, free and clear of all Liens and
           Encumbrances.

       (c) Records. Originals of all Records in the possession of Seller; provided, however, that
           Seller shall retain copies of such records as may be necessary to administer Excluded
           Assets and otherwise administer the bankruptcy estate until such time as it can be closed.

       (d) Title Policy. If applicable, the title policy described in Section 4.01 of this Agreement.

       (e) Closing Certificate. A Seller’s closing certificate reaffirming Seller’s representations
           and warranties hereunder.

       (f) Other Documents. Other documents as Buyer reasonably requests to accomplish the
           transactions this Agreement contemplates, or to evidence Seller’s compliance with its
           covenants and agreements in this Agreement.

8.03    Closing Costs. Seller has or will pay (i) the cost of preparing the Warranty Deed, (ii) the
        cost of the title abstract or title insurance provided herein, and (iii) the fees of its counsel.
        Buyer will pay (x) the cost of the Survey, (ii) the cost of any environmental site assessment,
        (y) the per page recording costs associated with recording the warranty deed, and (z) the
        fees of its counsel. All security deposits referenced in any Assumed Lease shall be credited
        to Buyer at Closing. The rent payable under any Assumed Lease shall be prorated as of
        the Closing Date.

8.04    Prorations. The parties agree to the following prorations:

       (a) Accounts Receivable. Except as otherwise set forth in this Agreement, Accounts
           Receivable generated by transactions or business operations occurring prior to the
           Closing Date (or such earlier date as Buyer may assume responsibility for operations
           and costs under a transition services agreement or operations lease) shall remain Seller’s
           property. Buyer and Seller may arrange for Buyer to collect such Accounts Receivable
           pursuant to the terms of a mutually agreed-upon ancillary agreement


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       (b) Accounts Payable. Except as otherwise set forth in this Agreement (including within
           the definition of Assumed Liabilities), Seller will be solely responsible for all accounts
           payable resulting from the ownership and/or operation of the Facilities prior to Closing
           (or such earlier date as Buyer may assume responsibility for operations and costs under
           the Operations Transfer Agreement). Buyer will be solely responsible for all accounts
           payable resulting from the ownership and/or operation of the Facilities after Closing
           Date (or such earlier date under the Operations Transfer Agreement) or the assumption
           of the Assumed Liabilities.

8.05     Adjustments to the Purchase Price. The following adjustments will be made at Closing, as
         of 11:59 p.m. on the day preceding the Closing Date, and will be added to the Purchase
         Price or credited against the Buyer’s payment obligations at Closing, as the case may be.

       (a)   Taxes. Real property Taxes, real and personal ad valorem Taxes, and similar charges
             will be prorated as of the Closing Date in the manner customary for real estate
             transaction in Iowa. Because real property Taxes are paid in arrears, the portion of the
             Taxes allocable to Seller will be credited to Buyer on the closing statement.

       (b)   Special Assessments. Seller will pay in full all improvement lien assessments, if any,
             whether or not due and payable as of the Closing Date. Special assessments, whether
             pending or to become a lien prior to Closing, or payable in installments, or for which a
             change of assessment may be levied on Buyer after Closing, will be credited to Buyer
             in full at Closing.

       (c)   All expenses arising from the conduct of the business of the Facility in the ordinary
             course, including, without limitation trade payables, telephone expenses and utility
             charges attributable to the Facility, including any such items held in escrow (all such
             income and expenses to be referred to herein as the “Prorated Items”), shall be
             apportioned between Seller and Buyer as of the Closing Date, it being the agreement
             of the Parties that Seller shall be entitled to and responsible for all expenses and similar
             obligations arising from the operation of the Facilities prior to the Closing Date and
             Buyer shall be entitled to and responsible for all expenses and similar obligations
             arising from the operation of the Facilities from and after the Closing Date, except, in
             each case, as otherwise expressly set forth herein. All such prorations shall be made
             based on actual days elapsed in the relevant accounting, billing or revenue period.
             Utility charges which are not metered and read for the Closing shall be estimated based
             on prior charges. Based on reasonable estimates, the Parties shall make all prorations
             at the Closing, and all such prorations shall be effectuated through adjustment of the
             Purchase Price at Closing.

       (d)   Seller shall provide Buyer, at least twenty (20) days prior to the Closing Date, a
             schedule setting forth, for each employee, the amount of accrued but unused paid time
             off (including any accrued sick time) for each employee as of the Closing Date
             (collectively, “Accrued PTO”) and the aggregate value of the Accrued PTO. Seller
             shall provide Buyer on the Closing Date with an updated version of such schedule
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           reflecting Accrued PTO amounts (and the value of those amounts) as of the Closing
           Date and provide Buyer with a credit to the Purchase Price in an equal to the Accrued
           PTO. On the Closing Date, Buyer shall assume the Accrued PTO balances with respect
           to the Transferred Employees and Buyer will, thereafter, be responsible for paying the
           Accrued PTO to the Transferred Employees in accordance with the Buyer’s applicable
           policies and procedures.

                                      ARTICLE IX
                                   CASUALTY; RISK OF LOSS


9.01   Casualty. In the event of a casualty causing substantial damage to the Facilities before
       the date of possession, Buyer may (at its option) rescind this Agreement, or may proceed
       to Closing and receive any insurance proceeds associated with such casualty.

9.02   Risk of Loss Generally. Except as otherwise specifically provided above or as otherwise
       agreed by Buyer and Seller in any Ancillary Agreement, risk of loss from the Facilities,
       including by operation of any law that would impose liability relating to ownership of the
       Facilities, will not pass to Buyer until acceptance of the deed.

                                        ARTICLE X
                                  ADDITIONAL COVENANTS

10.01 Cost Reports. Seller will file or cause to be filed all cost reports required to be filed with
      CMS prior to the Closing Date (or such earlier date as Buyer may assume responsibility
      for operations and costs under a transition services agreement or operations lease). Buyer
      will file or cause to be filed all cost reports required to be filed on or after the Closing Date
      (or such earlier date as Buyer may assume responsibility for operations and costs under a
      transition services agreement or operations lease).

10.02 Conduct of Business. From the Execution Date through the Closing Date (or such earlier
      date as Buyer may assume responsibility for operations and costs under a transition services
      agreement or operations lease), Seller will, except as expressly provided herein or as
      otherwise agreed by Buyer and Seller in an Ancillary Agreement, or as the Bankruptcy
      Code prohibits, maintain and conduct its business in the ordinary course of business.

10.03 Employees. Buyer and Seller shall consult in good faith about the status of employment
      of Seller’s employees following the Execution Date and prior to the Closing Date. In the
      absence of any direction from Buyer, prior to or as of the Closing Date, Seller may
      terminate any of Seller’s employees. Seller assumes all obligations under the federal
      WARN Act and any analogous provision of applicable state law with regard to all
      terminated employees, to the extent the WARN Act or such state law applies. Buyer may
      offer employment to some or all of Seller’s employees, but has no obligation to offer
      employment to any employee of Seller. Buyer has no obligation whatsoever to any person

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       whom Seller currently, or has previously, employed unless Buyer employs that person after
       the Closing Date.

10.04 COBRA Coverage. Seller will be responsible for offering and providing any COBRA
      Coverage with respect to any “qualified beneficiary” who is covered by an Employee Plan
      that is a “group health plan” and who experiences a “qualifying event” prior to the Closing
      Date. Buyer will be responsible for offering and providing any COBRA Coverage required
      with respect to any Seller employee (or other qualified beneficiary) hired by Buyer who
      becomes covered by a group health plan sponsored or contributed to by Buyer, and who
      experiences a qualifying event after the Closing Date. For purposes of this Section 8.03(b),
      “qualified beneficiary,” “group health plan,” and “qualifying event” each have the meaning
      set forth in Section 4980B of the Code.

10.05 Employee Information. To the extent not prohibited by applicable law, Seller will provide
      Buyer all information relating to any employee that Buyer may, for potential employment
      purposes, reasonably request, including personnel files, initial employment dates,
      employee health files, licenses, professional certifications, Form I-9, termination dates,
      reemployment dates, hours of service, and compensation and tax withholding history.

10.06 Employee Plans. Seller shall be responsible for providing all information, forms, and other
      administrative assistance and materials required of a plan administrator with respect to all
      Employee Plans for its employees that are terminated in connection with the sale of the
      Acquired Assets.

10.07 Taxes; Expenses. Buyer will pay all Taxes (other than income Taxes) or recording fees
      payable as a result of the sale of the Acquired Assets pursuant to this Agreement or any
      other action contemplated hereby, including fees paid to the Iowa Attorney General, the
      U.S. Attorney General, and any other governmental agency. The parties will cooperate in
      preparing, executing, and filing all returns, questionnaires, applications, and other
      documents regarding Taxes and all transfer, recording, registration and other fees that
      become payable in connection with the transactions that this Agreement contemplates that
      are required or permitted to be filed at or prior to Closing.

10.08 Transfer of Resident Trust Funds and Deposits.

     (a)   Within five (5) Business Days of the Closing Date, Seller shall deliver to Buyer a true,
           correct and complete schedule of all trust funds held by Seller as of the most recent
           date available prior to the Closing Date for any current resident of the Facilities
           (collectively, the “Resident Trust Funds”) and deposits or prepayments paid by or for
           any resident of the Facilities (collectively, the “Resident Deposits”).

     (b)   At the Closing, Seller shall transfer the Resident Trust Funds and Resident Deposits to
           Buyer, and Buyer shall accept, the Resident Trust Funds and Resident Deposits in trust
           for the residents, in accordance with applicable statutory and regulatory requirements.
           Within ten (10) Business Days after the Closing Date, Seller and Buyer shall prepare a
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           final schedule of the Resident Trust Funds and Resident Deposits and thereafter
           reconcile the Resident Trust Funds and Resident Deposits transferred from Seller to
           Buyer.

                                     ARTICLE XI
                           NO SURVIVAL; NO INDEMNIFICATION

The covenants, obligations, representations and warranties of Buyer and Seller contained in this
Agreement, any exhibit or schedule hereto, or any certificate or document delivered pursuant
hereto shall not survive beyond the Closing. Neither party shall have any liability to the other after
Closing for any breach thereof. Buyer agrees that it is purchasing the Acquired Assets as is, where
is. Notwithstanding this provision, the parties may agree to limited survival and related
indemnification rights for obligations that remain uncompleted as of the Closing Date in an
Ancillary Agreement.

                                      ARTICLE XII
                             REMEDIES FOR FAILURE TO CLOSE

12.01 Attorneys’ Fees. In the event either party brings a lawsuit or other proceeding against the
      other party to enforce any provisions of this Agreement or any instrument executed
      pursuant to this Agreement, the prevailing party will be paid all costs and reasonable
      attorney’s fees by the other party, such costs and reasonable attorney’s fees will be included
      in any such judgment. For purposes of this Section 10.02, “prevailing party” means, in the
      case of a Person asserting a claim, the Person is successful in obtaining substantially all of
      the relief sought, and in the case of a Person defending against or responding to a claim,
      the Person is successful in denying substantially all of the relief sought.

12.02 Waiver. No delay in exercising any right or remedy will constitute a waiver thereof, and
      no waiver by Seller or Buyer of the breach of any covenant of this Agreement shall be
      construed as a waiver of any preceding or succeeding breach of the same or any other
      covenant or condition of this Agreement.

                                         ARTICLE XIII
                                        MISCELLANEOUS

13.01 Assignability. Buyer may assign this Agreement in whole or in part and/or designate a
      nominee to take title to all or any part the Facilities or the operations thereof at Closing
      without the consent of Seller, provided that such assignment and/or designation shall only
      be to an Affiliate of Buyer, and provided that Buyer shall remain fully bound by the terms
      and conditions of this Agreement. Any assignment of this Agreement shall be binding
      upon and inure to the benefit of the successor or assignee of Buyer. In the event Buyer
      finds it necessary or is required to provide to a third party a collateral assignment of the
      Buyer’s interest in this Agreement and/or any related documents, Seller shall cooperate
      with the Buyer and any third party requesting such assignment including but not limited to
      Seller signing a consent and acknowledgment of such assignment.
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13.02 Entire Agreement. This Agreement constitutes the entire contract between the parties, and
      may not be modified except by an instrument in writing that both of them sign. All of the
      schedules and exhibits to this Agreement are incorporated by this reference.

13.03 Governing Law. This Agreement will be interpreted, construed, and enforced pursuant to
      the laws of the State of Iowa without giving effect to the choice of law rules thereof.

13.04 Notice. All notices and other communication allowed or required under this Agreement
      will be in writing, and delivered by either hand delivery, overnight courier, or Regular First
      Class U.S. Mail, postage prepaid, and addressed as follows:

        If to Seller:                                 If to Buyer:

        QHC Facilities LLC                            Crestridge Holdco, LLC
        8350 Hickman Road, Suite 15                   600 Broadway, Suite E
        Clive, IA 50325                               Lynbrook, NY 11563
        Attn: Mark Hidlebaugh, Member

        With a copy to:                               With a copy to:

        Jeffrey D. Goetz, Esq.               Gutnicki LLP
        Bradshaw Fowler Proctor & Fairgrave, 4711 Golf Road, Suite 200
        P.C.                                 Skokie, IL 60076
        801 Grand Avenue, Suite 3700         Attn: Stacy J. Flanigan, Esq.
        Des Moines, IA 50309-8004

       All notices provided in accordance with this Section delivered by hand or by overnight
       courier will be deemed delivered and received on the delivery date. All notices delivered
       by First Class Mail will be deemed delivered and received four (4) Business Days after
       being placed for delivery with the U.S Postal Service.

13.05 Section Headings; Drafting Party. The headings of this Agreement are for convenience of
      reference only, do not form a part of this Agreement, and do not in any way modify,
      interpret or construe the intentions of the parties. The provisions of this Agreement have
      been examined, negotiated, drafted and revised by counsel for each party, and no
      implication will be drawn against any party by virtue of the drafting of this Agreement.

13.06 Waivers. Any waiver by any party of any violation of, breach of or default under any
      provision of this Agreement or any exhibit, schedule or other document referred to in this
      Agreement by any other party will not be construed as or constitute a waiver of any
      subsequent violation, breach of, or default under that provision or any other provision of
      this Agreement, or any Exhibit, Schedule or other document referred to in this Agreement.

13.07 Further Assurances. Each of the parties will, at any time and from time to time after the
      Closing, execute and deliver, or cause to be executed and delivered, to the other party or
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       their designee, such further consents, approvals, conveyances, assignments and other
       documents and instruments as any party shall reasonably request in order to carry out any
       and all of the terms and provisions of this Agreement.

13.08 Counterparts. This Agreement may be executed in several counterparts and by facsimile
      transmission or email scan, each of which when so executed and delivered will be deemed
      an original, but all of which together shall constitute one and the same instrument.

13.09 Binding Effect. This Agreement will be binding upon and inure to the benefit of the parties
      to this Agreement and their respective successors, heirs, assigns and legal representatives
      Waiver of Jury Trial. BUYER AND SELLER WAIVE TRIAL BY JURY IN ANY
      ACTION, PROCEEDING, CLAIM, OR COUNTERCLAIM, WHETHER IN
      CONTRACT OR TORT, AT LAW OR IN EQUITY, ARISING OUT OF OR IN ANY
      WAY RELATED TO THIS AGREEMENT, OR THE TRANSACTIONS THAT THIS
      AGREEMENT CONTEMPLATES

13.10 Jurisdiction; Venue; Service of Process. Any litigation arising out of or relating to this
      Agreement, or the transactions this Agreement contemplates, will be brought in the
      Bankruptcy Court or a court located in Polk County, Iowa. Seller and Buyer consent to the
      jurisdiction of any such court. The parties each waive personal service of process in any
      litigation arising out of or relating to this Agreement or any transaction this
      Agreement contemplates, and agree that all such service of process may be made in
      the manner set forth for notices in Section 11.04 of this Agreement, and that service
      so made will be deemed completed one (1) day after delivered in compliance with
      Section 11.04 of this Agreement. The parties expressly waive any other requirements
      of notice or personal service that any applicable Law may require.

13.11 Exhibits and Schedules. If any exhibits or schedules are not attached hereto, the parties
      agree to attach such exhibits and schedules as soon as reasonably practicable but in any
      event prior to ten (10) days before the Closing Date. The Parties agree that the Party
      charged with providing an exhibit or schedule to this Agreement shall, to the extent
      necessary after delivery thereof, amend or supplement all exhibits and schedules in order
      for the same to be current, true and correct as of the Closing Date. The inclusion of any
      new schedule or exhibit, or supplement thereto, shall be subject to such party approving
      any new exhibits and schedules or supplements thereto within seven (7) days of submission
      thereof.

                                     ARTICLE XIV
                                 BANKRUPTCY MATTERS

14.01 Sale Order. The Sale Order will provide, inter alia, that pursuant to 11 U.S.C. Sections
      105, 363, and 365: (i) this Agreement and the transactions contemplated hereby are
      approved; (ii) Buyer will have and acquire at the Closing good, valid, marketable title to
      the Acquired Assets free and clear of all interests, Claims, Encumbrances, or Liens (except
      for Permitted Encumbrances and Assumed Liabilities) to the maximum extend provided
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     under 11 U.S.C. Sections 105, 363, and 365; (iii) Seller will assume and assign to Buyer
     all of the Assumed Executory Contracts as of the Closing Date; (iv) the Assumed
     Executory Contracts will be in full force and effect from and after the Closing with non-
     debtor parties being barred and enjoined from asserting against Buyer, inter alia, defaults,
     breaches or claims of pecuniary losses existing as of the Closing or by reason of the
     Closing; (v) Buyer is acquiring the Acquired Assets free and clear of the Excluded
     Liabilities and providing for a full release of Buyer with respect to the Excluded Liabilities;
     (vi) the activities and results of the marketing and auction conducted in connection with
     the sale, if any, are approved; (vii) Buyer will be found to be a good faith purchaser within
     the meaning of 11 U.S.C. Section 363(m); and (viii) the Bankruptcy Court will waive any
     stay that would otherwise be applicable to the immediate effectiveness of the Sale Order
     pursuant to Fed. R. Bankr. P. 6004(h) and 6006(d).



                                [signatures on following page]




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       IN WITNESS WHEREOF, the parties have executed this Agreement effective as of the
date and year first written.

CRESTRIDGE HOLDCO, LLC

__________________________________



By: ______________________________



        CEO
Its: ______________________________



QHC FACILITIES, LLC



__________________________________



By: ______________________________



Its: ______________________________



QHC MANAGEMENT, LLC



__________________________________



By: ______________________________



Its: ______________________________
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                                         EXHIBITS



Exhibit A:   Facilities

Exhibit B:   Land

Exhibit C:   Purchase Price Allocation
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                                  SCHEDULES

           Schedule 2.01(i)    Assumed Benefit Plans

           Schedule 2.08(a)    Assumed Executory Contracts

           Schedule 2.08(b)    Accrued PTO

           Schedule 3.01(e):   Litigation

           Schedule 3.01(o)    Certificates of Need

           Schedule 3.01(s)    Permits

           Schedule 3.01(t)    Compliance

           Schedule 3.01(u)    Licensed Beds and Current Rate

           Schedule 3.01(y)    Financial Information

           Schedule 3.01(z)    Real Property
